Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 1 of 131 Page ID
                                 #:2906


  1   KIMBERLY K. CHEMERINSKY (State Bar No. 277637)
      ALSTON & BIRD LLP
  2   333 S. Hope Street, 16th Floor
      Los Angeles, CA 90071
  3   Telephone: 213-576-1000
      Facsimile: 213-576-1100
  4   Email:      kim.chemerinsky@alston.com
  5   FRANK E. SHEEDER III (Admitted Pro Hac Vice)
      ALSTON & BIRD LLP
  6   2200 Ross Avenue, Suite 2300
      Dallas, TX 75201
  7   Telephone: 214-922-3400
      Facsimile: 214-922-3899
  8   E-mail:     frank.sheeder@alston.com
  9   Attorneys for Moving Defendants
      STANFORD HEALTH CARE, STANFORD
 10   HEALTH CARE ADVANTAGE, THE LELAND STANFORD
      JUNIOR UNIVERSITY (A/K/A THE BOARD OF TRUSTEES
 11   OF THE LELAND STANFORD JUNIOR UNIVERSITY),
      DEBRA ZUMWALT, and FREDERICK DIRBAS
 12                      UNITED STATES DISTRICT COURT
 13                     CENTRAL DISTRICT OF CALIFORNIA

 14 UNITED STATES OF AMERICA                     Case No. 2:17-cv-08726-DSF-AFM
    Ex. Relator Emily Roe., an individual;       Assigned to the Honorable Dale S.
 15                                              Fischer, [Courtroom 7D]

 16       Plaintiffs,                 DECLARATION OF FRANK E.
                                      SHEEDER III IN SUPPORT OF
 17          v.                       MOVING DEFENDANTS’
                                      OPPOSITION TO RELATOR’S
 18   STANFORD HEALTHCARE BILLING AMENDED MOTION FOR
      DEPARTMENT, STANFORD HEALTH SANCTIONS PURSUANT TO FED.
 19   CARE (FORMERLY KNOWN AS         R. CIV. P. RULE 11
      STANFORD HOSPITALS AND
 20   CLINICS), DR. FREDERICK DIRBAS, [Filed concurrently with Moving
      DEBRA ZUMWALT, THE BOARD OF Defendants’ Opposition to Relator’s
 21   DIRECTORS OF THE STANFORD       Amended Motion for Sanctions, Costs,
      HEALTH CARE, THE BOARD OF       and Attorney’s Fees Pursuant to Fed. R.
 22   DIRECTORS OF THE LUCILE SALTER Civ. P. Rule 11]
      PACKARD CHILDREN’S HOSPITAL
 23   AT STANFORD, THE LELAND         Hearing
      JUNIOR UNIVERSITY, THE BOARD Date: July 27, 2020
 24   OF TRUSTEES OF STANFORD         Time: 1:30 p.m.
      UNIVERSITY, STANFORD HEALTH Ctrm: First Street Courthouse
 25   CARE ADVANTAGE and DOES 1-10,         Courtroom 7D
      inclusive.                            350 West 1st Street
 26                                         Los Angeles, CA 90012
             Defendants.
 27                                   Second Am. Complaint: March 2, 2020

 28
                                           -1-
       DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
           RELATOR’S AMENDED MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. RULE 11
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 2 of 131 Page ID
                                 #:2907


  1         I, Frank E. Sheeder III, declare under penalty of perjury as follows:
  2         1.     I am an attorney licensed to practice law in Texas since 1987, admitted
  3   pro hac vice before this Court, and counsel of record in this matter for Defendants
  4   Stanford Health Care (“SHC”), Stanford Health Care Advantage (“SHCA”), The
  5   Leland Stanford Junior University (a/k/a The Board of Trustees of the Leland
  6   Stanford Junior University) (the “University”), Debra Zumwalt (“Ms. Zumwalt”),
  7   and Frederick Dirbas (“Dr. Dirbas”) (collectively “Moving Defendants”). I submit
  8   this declaration in support of Moving Defendants’ Opposition to Amended Motion
  9   for Sanctions, Costs, and Attorney’s Fees Pursuant to Fed. R. Civ. P. Rule 11. The
 10   facts set forth herein are based on my personal knowledge and, if called upon to do
 11   so, I would competently testify thereto.
 12         2.     On June 2, 2020, Ms. Juarez sent an email to me with what she described
 13   as “a service copy of the Fed. R. Civ. P. 11 Motion for Sanctions.” Attached to her
 14   email was a 32-page PDF document titled “Notice of Motion and Motion for
 15   Sanctions, Costs, and Attorney’s Fees Pursuant to Fed. R. Civ. P. Rule 11.” A true
 16   and correct copy of this email and attachment are attached as Exhibit A.
 17         3.     Less than an hour later, Ms. Juarez sent another email to me with two
 18   attachments she described as “further pleadings to the Notice and Motion.” Attached
 19   to her email was a 3-page PDF document titled “Declaration of Service Rule 11(c)(2)
 20   Certificate” and a 67-page PDF document titled “Declaration of Gloria Juarez, and
 21   Exhibits in Support Thereof to Relator’s Motion for Sanctions Pursuant to Rule
 22   11(c)(2).” The “Declaration” had 59 pages of Exhibits, including Exhibit cover
 23   pages. A true and correct copy of this email and attachments are attached as Exhibit
 24   B.
 25         4.     On June 12, 2020, I wrote to Ms. Juarez and reminded her that her
 26   attempted email service of Relator’s “Motion for Sanctions” was not effective under
 27   Rule 5 or Rule 11(c)(2) because I had “never consented in writing to email service
 28   of non-ECF filed documents in this matter.” I also: (1) outlined various other
                                                 -2-
       DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
           RELATOR’S AMENDED MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. RULE 11
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 3 of 131 Page ID
                                 #:2908


  1   procedural failures and objective mischaracterizations in the “Motion for Sanctions,”
  2   Relator’s Motion for Costs of Service Pursuant to Fed. R. Civ. P. Rule 4(d)(2) (ECF
  3   No. 69-1) (“Motion for Costs”), and Ms. Juarez’s accompanying Declarations; (2)
  4   cautioned “that these improper Motions are based on frivolous legal arguments and
  5   unfounded factual contentions that will establish grounds for sanctions against you
  6   and your client”; (3) asked that she withdraw her Motion for Costs and not file her
  7   Motion for Sanctions; and (4) advised that her “client has no legitimate legal or
  8   factual basis to pursue the Motions, your continued pursuit of them could only be for
  9   improper purposes, and Moving Defendants will have no choice but to pursue all
 10   rights and remedies against you and your client.” A true and correct copy of this
 11   communication is attached as Exhibit C.
 12         5.    On June 16, 2020, Ms. Juarez responded, claimed that my June 12, 2020,
 13   letter “misconstrues the pleadings and contains objective falsehoods,” and said that
 14   she intended to “vehemently dispute [the email service issue] before the court.” A
 15   true and correct copy of this communication is attached as Exhibit D.
 16         6.    On June 18, 2020, I wrote to Ms. Juarez, told her Moving Defendants
 17   would agree to her request to seek redaction of footnote 3 from ECF No. 64-1 in an
 18   attempt to avoid her “continued distraction from the real issues in this case,” and
 19   reaffirmed Relator’s Motion for Costs and proposed “Motion for Sanctions” were
 20   unfounded, as were Ms. Juarez’s Declarations in support. A true and correct copy of
 21   this communication is attached as Exhibit E.
 22         7.    Other than Ms. Juarez’s June 2, 2020, email, I am not aware of any other
 23   attempt to serve the “Motion for Sanctions” on me.
 24         8.    On June 28, 2020, Relator filed her “Amended Motion for Sanctions,
 25   Costs, and Attorney’s Fees Pursuant to Fed. R. Civ. P. Rule 11” and related
 26   documents (ECF Nos. 75, 75-1, 75-2, 75-3, 75-4). The “Declaration of Gloria Juarez,
 27   and Exhibits in Support Thereof to Relator’s Motion for Sanctions Pursuant to Rule
 28   11(c)(2),” filed as ECF No. 75-2, has 50 pages of Exhibits, including Exhibit cover
                                                -3-
       DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
           RELATOR’S AMENDED MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. RULE 11
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 4 of 131 Page ID
                                 #:2909


  1   pages. These “Amended” filings are not identical to the documents she had emailed
  2   to me on June 2, 2020.
  3         9.     Ms. Juarez never emailed her client’s “Amended Motion for Sanctions”
  4   to me prior to filing, nor am I aware of any attempt to serve it on me under Federal
  5   Rule of Civil Procedure 5.
  6         I declare under penalty of perjury under the laws of the United States that the
  7   foregoing is true and correct. Executed this 6th day of July 2020, in Dallas, Texas.
  8
  9                                          /s/Frank E. Sheeder III
                                                          Frank E. Sheeder III
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                -4-
       DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
           RELATOR’S AMENDED MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. RULE 11
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 5 of 131 Page ID
                                 #:2910




                      Exhibit A
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 6 of 131 Page ID
                                      #:2911



From:                          GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com>
Sent:                          Tuesday, June 2, 2020 7:57 PM
To:                            Sheeder, Frank; Chemerinsky, Kim
Cc:                            Kortum, Frank (USACAC)
Subject:                       Notice of Rule 11 Motion
Attachments:                   20-7-13 3.0 Roe MOT Sanctions (20-6-2).pdf


EXTERNAL SENDER – Proceed with caution




    Dear Mr. Sheeder and Ms. Chemerinsky,

    In follow up to our telephonic meeting on May 26, 2020, and the prior written correspondence dated May
    25, 2020, please find the following for your review and time sensitive response. Pursuant to Fed. R. Civ. P.
    11(c) (2), attached is a service copy of the Fed. R. Civ. P. 11 Motion for Sanctions (“Motion for Sanctions”)
    which we are providing to you. We demand that you withdraw and seal the de-anonymized portions of your
    Motion (ECF 64) within 21 days of the date of this letter. If you refuse to comply with this demand to
    mitigate your pleading conduct in ECF 64 (having publicly de-anonymized Relator without order of the
    court) then we will be forced to file the attached Motion for Sanctions with the Court.



      Very Truly Yours,
      Gloria




                                                  GJ
                                           Gloria Juarez
                                  LAW OFFICES OF GLORIA JUAREZ

                                        ORANGE COUNTY OFFICE
                                      26081 Merit Circle , Suite 112
                                         Laguna Hills, CA 92653
                                           Tel. 213-598-4439
                                                       1
                                                                                                             5
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 7 of 131 Page ID
                                   #:2912
                           Facsimile 714-919-0254




                                      2
                                                                                6
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 8 of 131 Page ID
                                      #:2913



 1    Gloria M. Juarez, California State Bar No. 109115
 2    LAW OFFICES OF GLORIA JUAREZ
      26081 Merit Circle, Suite 112
 3    Laguna Hills, CA 92653
 4    Tel: 213-598-4439
      Fax: 714-919-0254
 5    Email: gloria@thegjlaw.com
 6           tootsieglo@sbcglobal.net
      ATTORNEYS FOR RELATOR EMILY ROE
 7
 8
                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                     WESTERN DIVISION
11    THE UNITED STATES OF AMERICA.                  Case No.: CV17-08726-DSF(AFMx)
12    ex. Relator Emily Roe., an individual.         JUDGE: The Hon. Dale S. Fischer
                      Plaintiff,
13
14                       vs.                         NOTICE OF MOTION AND
15                                                   MOTION FOR SANCTIONS,
      STANFORD HEALTHCARE BILLING                    COSTS, AND ATTORNEY’S FEES
16    DEPARTMENT, STANFORD HEALTH                    PURSUANT TO FED. R. CIV. P.
17    CARE (FORMERLY KNOWN AS                        RULE 11
      STANFORD       HOSPITALS     AND
18
      CLINICS), DR. FREDERICK DIRBAS,
19    DEBRA ZUMWALT, THE BOARD OF
20    DIRECTORS OF THE STANFORD                      HEARING DATE: July 13, 2020
      HEALTH CARE, THE BOARD OF                      TIME:          1:30 p.m.
21    DIRECTORS OF THE LUCILE SALTER                 CTRM:    7D (First Street Courthouse)
22    PACKARD CHILDREN'S HOSPITAL                             350 West 1st Street
      AT STANFORD, THE LELAND JUNIOR                          Los Angeles, CA 90012
23    UNIVERSITY, THE BOARD OF
24    TRUSTEES       OF       STANFORD
25    UNIVERSITY, STANFORD HEALTH                    Complaint Filed:      Dec. 4, 2017
      CARE ADVANTAGE, and DOES 1-10,                 Complaint unsealed:   July 30, 2019
26    inclusive,
27                   Defendants.
28


                                                 i                                            7
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                            17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 9 of 131 Page ID
                                      #:2914



 1          TO DEFENDANTS, THE TRUE PARTIES IN INTEREST, AND THEIR
 2    ATTORNEYS OF RECORD: PLEASE TAKE NOTICE that on July 13, 2020 at 1:30
 3    p.m., or as soon thereafter as the matter may be heard, in Courtroom 7D of the above-
 4    entitled Court, located at the United States District Court, First Street Courthouse, 350
 5    West 1st Street, Los Angeles, California, Relator Emily Roe (herein after “Moving Party”
 6
      or “Relator”) will, and hereby does, move this Court pursuant to Federal Rules of Civil
 7
      Procedure (Fed. R. Civ. P.) Rule 11 for a court award of sanctions of $5,000 per Defendant,
 8
      and attorney fees of $9707.50. Pursuant to Rule 11 (c)(2), this Motion was first served on
 9
      Defendants pursuant to Rule 5 on June 2, 2020, well advance of 21 days safe-harbor
10
      period. (See Decl. of Service)
11
            Relator respectfully moves the court pursuant to Rule 11(c)(2) and Rules11(b)(1) ,
12
      (b)(3), and (b)(4) as to Stanford Health Care, Dr. Frederick Dirbas, Ms. Debra Zumwalt,
13
14    The Leland [Stanford] Junior University, and Stanford Healthcare Advantage (“SHCA”)

15    (collectively, “Stanford” or “Defendants”).
16          Moving Party moves for an order based upon this Notice and Motion, the
17    accompanying Memorandum of Points and Authorities, the complete records on file in
18    this court herein, and on such other and further matters as may be presented to the Court
19
      at the time of the oral hearing or in supplemental briefing on this matter.
20
            This Motion is made following the meet and confer efforts of counsel for Moving
21
      Relator and counsel for all Defendants pursuant to Local Rule 7-3, which took place on
22
23    May 25, 2020 and May 26, 2020. Despite conferring with Defendants’ counsel, this

24    Motion has become necessary because Defendants and their counsel willfully and
25    preemptively de-anonymized Relator in their March 30, 2020 pleading (ECF 64:3) without
26    authority or order of the court, and also submitted a Declaration to the Court (ECF 63,
27    Decl. Dirbas) which lacked evidentiary support and was presented for an improper
28    purpose. Defense counsel have since declined to correct or withdraw their pleading,
      regardless of the fact that this court and the government (real-party in interest) have

                                                    ii                                               8
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                   17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 10 of 131 Page ID
                                       #:2915



 1    sanctioned this anonymized case, and no controverting order has since been issued
 2    authorizing Defendants’ conduct.
 3
            In accordance with the foregoing, Moving Party respectfully requests that the Court
 4
      award sanctions in favor of Relator pursuant to Fed. R. Civ. P. Rule 11and grant such other
 5
      and further relief, including an award of costs and reasonable costs and attorneys' fees, to
 6
      which Moving Party may be entitled.
 7
 8
 9                                           Dated: June 1, 2020
10
11
12                                           LAW OFFICES OF GLORIA JUAREZ
13
14
                                             By: /s/ Gloria Juarez
15
                                             GLORIA MORIN JUAREZ, SB# 100915
16
                                             Attorneys for Relator Emily Roe
17
18
19
20
21
22
23
24
25
26
27
28


                                                   iii                                            9
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 11 of 131 Page ID
                                  #:2916




                                                                                 10
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 12 of 131 Page ID
                                       #:2917



 1                                         TABLE OF AUTHORITIES
      CASES
 2
 3    Barber v. Miller, 146 F.3d 707, 710 (9th Cir. 1998) ....................................................... 14
 4    Chambers v. NASCO, Inc., 501 U.S. 32, 41, 111 S. Ct. 2123, 115 L. Ed. 2d 27
 5             (1991) ..................................................................................................................... 23
 6    Ditkof v. Owens-Illinois, Inc., 114 F.R.D. 104 (E.D. Mich. 1987).................................. 21
 7
      Does I Thru XXIII v. Advanced Textile Corp., 214 F.3d 1058 (9th Cir. 2000) ................. 8
 8
      Id.      22
 9
      More v. Chase, Inc., 2016 WL 928671, at *7 (E.D. Cal. Mar. 10, 2016) ....................... 15
10
      Operating Eng'rs Pension Tr. v. A-C Co., 859 F.2d 1336, 1344 (9th Cir. 1988)............ 15
11
      People’s United Equip. Fin. Corp. v. Hartmann, 447 F. App’x 522, 524 (5th Cir.
12
               2011). ..................................................................................................................... 25
13
14    People's United Equip. Fin. Corp. v. Hartmann, 447 Fed. Appx. 522, 524 (5th Cir.

15             2011) 25
16    Radcliffe v. Rainbow Const. Co., 254 F.3d 772, 789 (9th Cir. 2001).............................. 14
17    Roadway Exp., Inc. v. Piper, 447 U.S. 752, 767, 100 S. Ct. 2455, 65 L. Ed. 2d 488
18             (1980) ............................................................................................................... 23, 24
19    Shepherd v. Am. Broad. Cos., 62 F.3d 1469, 1472, 314 U.S. App. D.C. 137 (D.C.
20             Cir. 1995) ............................................................................................................... 23
21    Staton v. Boeing Co., 327 F.3d 938, 966 (9th Cir. 2003) (citation omitted) ..................... 6
22    U.S. ex rel. Killingsworth v. Northrop Corp., 25 F.3d 715, 720 (9th Cir. 1994) ............ 12
23    Woodrum v. Woodward Cty., 866 F.2d 1121, 1127 (9th Cir. 1989) ............................... 15
24
25    STATUTES
26
      31 U.S.C. § 3279 ................................................................................................................ 6
27
      31 U.S.C. § 3730(b)(2)....................................................................................................... 7
28
      31 U.S.C. § 3730(b)(4)(B) ................................................................................................. 7
      Cal. Gov’t Code §§§ 12650-12656 .................................................................................... 7
                                                                         v                                                               11
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                                                     17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 13 of 131 Page ID
                                       #:2918



 1    Cal. Insurance Code Sections 1871 and 1871.4................................................................. 7
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                            vi                                                   12
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                                 17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 14 of 131 Page ID
                                  #:2919




                                                                                 13
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 15 of 131 Page ID
                                       #:2920



 1    Defendants and requested Defendants contact Relator’s counsel. On September 13, 2019
 2    Relator requested that Defendants execute Rule 4(d) waivers for the Summons and
 3    Complaint. The Court issued an Order to Show Cause as to service. Due to Defendants’
 4    declination to comply, the summonses were filed with the court on December 6, 2019 and
 5    issued on December 12, 2019. (ECF 41). Many of the Defendants were personally served
 6
      throughout December 2019. While Relator was awaiting the return of executed Rule 4(d)
 7
      waivers from Defendants, Defendants surreptitiously filed their first Motion to Dismiss
 8
      “(MTD”) on January 7, 2020. (ECF 42) Relator only then filed the proofs of service of
 9
      summons with the court. (ECF 46, 47) The Court granted Defendants’ MTD on February
10
      2, 2020. Relator filed the SAC on March 2, 2020 in the pseudonym, maintaining the status
11
      quo in the case. On March 30, 2020 Defendants filed their second and third MTD. They
12
      sought dismissal pursuant to Rule 12(b)(5) by claiming failed service vis-a-vis Dr.
13
14    Dirbas’s tacit Declaration, and dismissal relying on Rule 10(a), whereby they

15    preemptively stripped Relator’s anonymized filing in this action. (ECF 63, 64). Notably,
16    Defendants willfully misused the court’s processes to vex and harass Relator by tactically
17    de-anonymizing her in their motion without authority or order of the court. Rule 11(b)(1)
18    (ECF 64:3, n3). Defendant further patently refused Relator counsel’s multiple meet and
19    confer attempts to mitigate Defendants’ pleading conduct. (Decl. Juarez ¶2) Defendant Dr.
20    Dirbas also surreptitiously made his first appearance in the action inter alia a heavily
21    obscured Declaration with highly implausible claims of failed service and lack of notice
22    of commencement of this litigation, which were untrue narratives. Defendants and their
23    counsel knew the narratives to be untrue when they made them. (Rule 11(b) (2, and (b)(4))
24
      (ECF 63) Defendants’ willful de-anonymizing Relator in their pleading is an overt act, and
25
      thinly veiled attempt to vex and harass Relator for bringing and maintaining an FCA claim.
26
      In doing so, the allegations of an FCA turn on the government’s data and Defendants’
27
      alleged fraud and abuse of government payors, not Relator’s identity or pseudonym. The
28
      relators themselves have little to do with the real parties in interest to FCA allegations,
      other than to provide factual information to the government. Hence, Defendants’ claims
                                                  2                                          14
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                               17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 16 of 131 Page ID
                                       #:2921



 1    ultimately take aim at the government’s most valuable tool in deterring and reporting
 2    (healthcare) fraud, and flip 31 U.S.C §3279 on its head. This is largely because in addition
 3    to effectively vexing FCA Relators with such veiled and unveiled threats as they have
 4    done here, Defendants have also otherwise employed a self-serving affidavit which was
 5    patently contrary to the facts and lacked evidentiary support. (Rule 11(b)(3)). This is
 6
      particularly true as to Defendant Dr. Dirbas as explained herein.
 7
            Accordingly, Relator’s Motion based on Rule 11(c)(2) should be granted for the
 8
      foregoing reasons. Defendants’ argument in defense as to their basis for pre-emptively
 9
      de-anonymizing Relator on March 30, 2020 (ECF 64:3, n3) misapplies the law and ignores
10
      the evidence. Defendants’ claims as to their excuse for tactically de-anonymizing Relator
11
      in their pleading fails under its own weight as follows:
12
            First, Defendants’ own Motion to Dismiss (ECF64) states they are seeking to
13
14    dismiss the SAC because it is filed under a pseudonym. Hence, they cannot feign that they

15    were unaware of the anonymized status or misconstrued that they could de-anonymize the
16    case as they did in ECF 64 without authority of the court. Relator’s counsel was also
17    abundantly clear in correspondence on January 4, 2020 and additional dates thereafter to
18    defense counsel that Defendants’ threats to de-anonymize Relator were causing her
19    documented physical threat and harm 1. (Decl. Juarez ¶4, Exh. B ) The Ninth Circuit
20    considered similar allegations and found a cognizable legal theory allowing the
21    anonymized plaintiff [relator in this case] to proceed under a pseudonym Does I Thru
22    XXIII v. Advanced Textile Corp., 214 F.3d 1058 (9th Cir. 2000) Ultimately, the Court
23    determined that given the nature of the claim, the plaintiffs’ interest in keeping their name
24
      anonymous was more important than the public interest in knowing their identity. Here,
25
      Defendants knowingly preemptively de-anonymized Relator to vex and harass her. Then
26
      they patently refused to mitigate their pleading conduct, and declined to take even remedial
27
      steps to allow the court the opportunity to adjudicate the pseudonym matter, rather than
28
            1
              Relator’s counsel will make such records available upon the court’s directive or
      request for an in-camera review.
                                                   3                                           15
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                 17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 17 of 131 Page ID
                                       #:2922



 1    taking the matter in their own hands in advance of the Court’s ruling.
 2          Second, Dr. Dirbas’s proffered Declaration is inconsistent with the facts, and the
 3    evidentiary support controverts his testimony. (ECF 63) Dr. Dirbas denies any knowledge
 4    of this suit until March 2, 2020 when he claims Relator counsel first contacted him. (Decl.
 5    Dirbas ¶¶3-5, ECF 63). His claim of lack of knowledge about the commencement of this
 6    FCA litigation is controverted by the undisputed facts that his attorney received the
 7    Complaint on August 15, 2019 (Decl. Juarez ¶ 8), and that his employer and co-defendant
 8    was served on December 19, 2019 (Exh. L). Other than to cause unnecessary delay and
 9    expense in this litigation, there is no plausible explanation why Defendant Dr. Dirbas has
10    submitted his affidavit and skirted responding to his obvious representation by Mr.
11    Sheeder. Rule 11(b)(1), (b)(3), and (b)(4). Similar to Dr. Dirbas’s reasons for evading
12    service of the summons for more than two months (Exh. G, H), his testimony here before
13    the court is clearly in hopes of being extricated from this federal FCA. What is more,
14    Defendants’ arguments in their Motion to Dismiss and Strike (ECF 63) also rely on Dr.
15    Dirbas’s party affidavit which briskly contrasts with that of the two neutral process servers,
16    and the evidentiary support (Decl. Juarez ¶¶13-14) (Exh. J, K) Courts have held that where
17    dispute over the validity of service arises, the court attributes substantial and extra weight
18    to the sworn declaration of the neutral process server or party. Veliz v. Rimax Contractors,
19    Inc., 2016 WL 1704496, at *1, n.3 (E.D. La. Apr. 28, 2016).           Notably, Dr. Dirbas’s
20    proffered testimony is not only implicit in large part as explained further herein, but also
21    was known or should have been known by defense counsel as lacking evidentiary support.
22          Third, it is indisputable that Defendants and their counsel were required to comply
23    with Rule 11 (b) which requires that representations to the court comply with the
24    following: “certifies that to the best of the person's knowledge, information, and belief,
25    formed after an inquiry reasonable under the circumstances” and that the pleading is “not
26
      being presented for any improper purpose”. (Rule 11 (b)(1) and (b)(2)) Here there was
27
      little basis for Defendants’ pleading conduct in ECF 64, and Dr. Dirbas’s “claims, defenses
28
      or other legal contentions” and unlikely for Dr. Dirbas’s claims to have “evidentiary
      support after a reasonable opportunity for further investigation”. To be clear, there was no
                                                    4                                           16
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                  17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 18 of 131 Page ID
                                       #:2923



 1    foundation for counsel to make “the denials of factual contentions” nor was Dr. Dirbas’s
 2    narrative warranted based on the evidence and information available to defense counsel.
 3    Defendants knew that Dr. Dirbas was aware of this suit far before “March 2, 2020”
 4    because this case turns on Dr. Dirbas's alleged false claims to Medicare for his treatment
 5    of breast cancer patients at Defendant Stanford’s facilities. The Complaint is also replete
 6
      with more than 1000-line items of Dr. Dirbas’s Medicare billing. (See Exh. Q to SAC)
 7
      Defendants and their counsel would have had to address Dr. Dirbas and his billing in this
 8
      litigation, and that is done on the front end in FCA litigation. More than that, Defendants
 9
      and their counsel had the process servers’ declarations reflecting service was effectuated
10
      on Defendants and that additional service costs were incurred here because of a purposely
11
      evasive Defendant, Dr. Dirbas. (See e.g. Decl. Juarez ¶¶11-14) (Exh. I, J, K)
12
            Lastly, Rule 12(g)(2) makes abundantly clear that a defendant’s right to raise an
13
      issue is waived if they don’t do so on the earlier motion to dismiss. This was the case here
14
      because Defendants’ first MTD on January 7, 2020 failed to raise either Rule 12(b)(5) or
15
      Rule 10(a), which they newly raised in their second or third motions. (ECF 63 and 64)
16
      Defendants knew the application of this rule because they raised each of these arguments
17
      in their meet and confer correspondences before filing their MTD. (Decl. Juarez ¶3, Exh.
18
      A) Their pleading (ECF 64) is also barred and frivolous within the meaning of Rule 11.
19
            In any event, Defendants second-guessing the court’s acceptance of the FCA filing
20
      as filed in the pseudonym is no defense appropriate for Defendants’ willful refusal to
21
      comply with the same. Therefore, costs and fees should also be awarded pursuant to Rule
22
      11, as well as any additional sanctions based on the court’s inherent power to sanction
23
      abuses of the judicial process. Shepherd v. Am. Broad. Cos., Inc., 62 F.3d 1469, 1474–75
24
      (D.C. Cir. 1995) Defendants and their counsel have demonstrated a disregard of judicial
25
      process by preemptively de-anonymizing Relator in their motion without authority or
26
      order of the court to do so, and have since patently refused to correct their conduct despite
27
      Relator’s demand and ample opportunity for the same, the court should grant this Rule
28
      11(c)(2) Motion for sanctions which authorizes the court to award additional costs and

                                                    5                                          17
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                 17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 19 of 131 Page ID
                                  #:2924




                                                                                 18
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 20 of 131 Page ID
                                  #:2925




                                                                                 19
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 21 of 131 Page ID
                                       #:2926



 1    Federal District to the U.S.C. 3279 (Medicare) claims, parties stipulated thereto and
 2    Relator noticed a voluntary dismissal without prejudice the Second Cause of Action
 3    (“Violation of Cal. Insurance Code § 1871 et seq.”).
 4          On August 15, 2019, the State forwarded an electronic courtesy copy of the newly
 5    unsealed FAC to defense counsel Mr. Sheeder, which informed Defendants that a lawsuit
 6    had been initiated against them. The State requested that defense counsel contact Relator
 7    counsel’s office to discuss because “certain elements of the Complaint which are worthy
 8    of serious analysis by Stanford”. (Decl. Juarez ¶7) (See Exh. “D”) Not having received
 9
      any response, on September 13, 2019 Relator’s counsel first called and also emailed
10
      defense counsel as to waiving service of the Complaint as to all Defendants. (Decl. Juarez
11
      ¶8) (See Exh. “E”) On December 6, 2019 Relator filed a response to the court’s Order to
12
      Show Cause and explained that service would timely proceed. The Summonses were filed
13
      on December 6, 2019. (Dkt. No. 37) On December 12, 2019, the Clerk issued a summons
14
      to each defendant (Docket No. 41). On or about December 12, 2019 Relator forwarded the
15
      summonses and Complaint to local offices of OneLegal for service on the Defendants who
16
17    had not responded to the requested Rule 4(d) waiver requests. On January 7, 2020 certain

18    Defendants 3 made their appearance with a Motion to Dismiss. (ECF 42). Dr. Dirbas was
19    not among those Defendants. Service attempts on Dirbas continued from December 12,
20    2019 through February 20, 2020. (Decl. Juarez ¶¶10-11) (See Exh. G, H) On March 2,
21    2020, the SAC was filed and electronically served by ECF on defense counsel Mr. Sheeder
22    (Dkt. No. 55), however he declined to execute or return the Rule 4(d) waivers for
23    remaining Defendants including Dr. Dirbas. On March 2, 2020 Relator’s counsel emailed
24    a courtesy electronic copy of the SAC to defense counsel Mr. Sheeder, and carbon copied
25    Dr. Dirbas, again notifying Dr. Dirbas that a false claims action had been initiated against
26    he and his employers at Stanford. On March 3, 2020, a second communication was also
27
      sent. Neither Dr. Dirbas nor his counsel responded to any of these correspondences. On or
28
            3
            Defendants filing the Jan. 7, 2020 MTD were Stanford Health Care (SHC), Ms.
      Debra Zumwalt, The Leland [Stanford] Junior University, and Stanford Healthcare
      Advantage (“SHCA”) (collectively, “Stanford” or “Defendants”).
                                                   8                                          20
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 22 of 131 Page ID
                                  #:2927




                                                                                 21
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 23 of 131 Page ID
                                  #:2928




                                                                                 22
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 24 of 131 Page ID
                                  #:2929




                                                                                 23
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 25 of 131 Page ID
                                  #:2930




                                                                                 24
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 26 of 131 Page ID
                                  #:2931




                                                                                 25
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 27 of 131 Page ID
                                       #:2932



 1    to these Defendants is similarly in force, notwithstanding the resolution of that matter.
 2    Relator’s anonymity thus was court ordered as warranted by “exceptional circumstances”
 3    in the prior matter and has never been changed. (Decl. Juarez ¶¶ 2-3) In light of the
 4    multiple communications between Relator’s counsel and defense counsel, and Defendants
 5    themselves, there was no ambiguity as to the “exceptional circumstances” and threat of
 6
      physical harm to Relator should she be de-anonymized. Does I Thru XXIII v. Advanced
 7
      Textile Corp., 214 F.3d 1058 (9th Cir. 2000)      Defense counsel Mr. Sheeder and Ms.
 8
      Chereminsky were admittedly fully aware of these court orders, ruled as “exceptional
 9
      circumstances”. They threatened harm to Relator far in advance of filing their pleading
10
      where they willfully and with requisite scienter named Relator in her true identity. (ECF
11
      64:3, n3) Defense counsel cannot argue mistake or misunderstanding on their part.
12
      Defendant’s conduct was contrived and rooted in improper purpose to vex and harass
13
14    Relator. (Decl. Juarez ¶¶2,4) More than that, the Ninth Circuit also considered similar

15    circumstances and found cognizable legal application noting that sanctions are appropriate
16    when parties file "motions that duplicate one that was previously denied", as was arguably
17    done by Defendants here. In re Flashcom, Inc., 647 F. App'x 689, 693 (9th Cir. 2016) If
18    anything, here Defendants knew no later than December 31, 2019 from Relator’s counsel
19    that de-anonymizing Relator was believed to cause potential physical harm. (Decl. Juarez
20    ¶¶ 2-3) Notwithstanding Defendants’ a priori knowledge and advisement by Relator’s
21    counsel, Defendants were reckless and disregarded these warnings when they egregiously
22    not only made baseless ad hominem attacks, they de-anonymized Relator in their pleading
23    for clearly nefarious purposes. (ECF 64:3, n3) “The central purpose of Rule 11 is to deter
24
      baseless filings.” United States ex rel. Robinson Rancheria Citizens Council v. Borneo,
25
      Inc., 971 F.2d 244, 254 (9th Cir. 1992) (citing Cooter & Gell v. Hartmarx Corp., 496 U.S.
26
      384 (1990)). “Under the plain language of the rule, when one party files a motion for
27
      sanctions, the court must determine whether any provisions of subdivision (b) have been
28
      violated.” Id. If Rule 11(b) was violated, the court “may” impose sanctions. Id. at 1390.
      However, a court cannot simply assert that it “declines to impose sanctions.” Id.
                                                  14                                         26
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                               17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 28 of 131 Page ID
                                  #:2933




                                                                                 27
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 29 of 131 Page ID
                                  #:2934




                                                                                 28
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 30 of 131 Page ID
                                       #:2935



 1          To be clear, here what Dirbas doesn’t say in his Declaration, or is unable to say
 2    appears more meaningful than what he actually does state. Dirbas’s March 27, 2020
 3    Declaration (ECF 63) executed in “Menlo Park” claims the following:
 4              Dirbas asserts that he received “an email” on March 2, 2020 from Relator’s
 5        counsel (Dirbas Decl. ¶2); that he learned that “Relator” was trying to “contact me”
 6        on March 2, 2020 (Id. ¶3); that he received another email from Relator’s counsel on
 7        March 3, 2020 asking him to respond about his representation (Id. ¶4); that someone
 8        left a copy of the Complaint with his receptionist on January 28, 2020 [sic]; and lastly
 9        that suddenly also on March 3, 2020 he found a “large envelope” at his office dated
10        February 20, 2020 containing the Summons and Complaint (Id. ¶5)
11          Dirbas’ dissembled Declaration is easily broken into its implicit components. What
12    Dirbas’s declaration does not say is the following: when did Dirbas first learn of this
13    lawsuit (not when “Relator was attempting to contact me”), when did he “learn” he was a
14    named defendant, when did he first see the Summons or Complaint, and when was he
15    notified by his employer or their counsel of being named in the FCA lawsuit. What else
16    Dr. Dirbas also doesn’t say is any explanation of how his receptionist “Veronica” in his
17    closely held clinic did not give him the “Jan, 28, 2020” [sic] package for more than 5
18    weeks, and what is the explanation of how it was that the separate package addressed to
19    his home dated “February 20, 2020” was “lost” for 2 weeks and purportedly appeared at
20    the front desk of his clinic. Lastly, Dirbas doesn’t seem to be able to explain how he
21    serendipitously happened to learn of this lawsuit (rather than these packages) all on
22    “March 3, 2020” when “Relator’s counsel emailed him” to ask about his representation.
23    (Dirbas Decl. ¶5) Those coincidences seem remarkable, in light of the fact that 28 attempts
24    at personal service at Dirbas’s “Menlo Park” address were made between December 12,
25    2019 through February 20, 2020. (Exh. G and H) “The general rule is that [a] signed return
26    of service constitutes prima facie evidence of valid service, which can be overcome only
27    by strong and convincing evidence.” Thomas, 278 F.R.D. at 351 (quoting People's United
28    Equip. Fin. Corp. v. Hartmann, 447 Fed. Appx. 522, 524 (5th Cir. 2011)) (internal
      quotations and citations omitted). More than that, sanctions by inherent power of the court

                                                   17                                          29
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                 17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 31 of 131 Page ID
                                       #:2936



 1    may be warranted even if deemed that no Rule 11 sanctions are awarded for “cat-and-
 2    mouse” evasion of service, and other service conduct. The court stated the following in Ali
 3    v. Tolbert, 636 F.3d 622 (D.C. Cir. 2011): By its terms, Rule 11 applies to
 4    "[r]epresentations to the Court" made in" presenting to the court (whether by signing,
 5    filing, submitting, or later advocating) a pleading, written motion, or other paper." Fed R.
 6    Civ. P. 11(b) (2006). In Hilton Hotels Corp. v. Banov, 899 F.2d 40, 283 U.S. App. D.C.
 7    232 (D.C. Cir. 1990), we noted that six other circuits had concluded, applying the version
 8    of Rule 11 then in effect, the "emphasis on the need to perform a 'reasonable inquiry'
 9    before 'sign[ing]' a 'pleading, motion, or other paper' suggests that the rule authorizes
10    sanctioning an attorney only for unreasonably filing such a submission." 899 F.2d at 44-
11    45 (emphasis in original)' see also Chambers v. NASCO, Inc., 501 U.S. 32, 41, 111 S. Ct.
12    2123, 115 L. Ed. 2d 27 (1991) ("Rule 11 . . . governs only papers filed with a court"). Here
13    Dirbas and his counsel filed pleadings and affidavits with this court on March 30, 2020
14    which satisfy the statutory authorization for additional sanctions. (ECF 63, Decl. Dirbas)
15    The Noble court addressed "cat-and-mouse game" Noble played to evade service. See 235
16    F.R.D. at 4. While Noble had not made a declaration to the court, the reviewing court ruled
17    that even if Rule 11 didn’t apply “because the sanctioned misconduct did not involve
18    representations in a document presented to the court as required under Rule 11” sanctions
19    may nonetheless be warranted under the district court's inherent authority, which "enables
20    courts to protect their institutional integrity and to guard against abuses of the judicial
21    process with contempt citations, fines, awards of attorneys' fees, and such other orders and
22    sanctions as they find necessary, including even dismissals and default judgments."
23    Shepherd v. Am. Broad. Cos., 62 F.3d 1469, 1472, 314 U.S. App. D.C. 137 (D.C. Cir.
24    1995); see generally Chambers, 501 U.S. at 43-46 (describing extent of inherent judicial
25    authority).”The case was remanded to the court to exercise its inherent authority to
26    sanction defendant. Shepherd, 62 F.3d at 1472, Roadway Exp., Inc. v. Piper, 447 U.S. 752,
27    767, 100 S. Ct. 2455, 65 L. Ed. 2d 488 (1980) (bad faith).”
28


                                                  18                                          30
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 32 of 131 Page ID
                                  #:2937




                                                                                 31
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 33 of 131 Page ID
                                       #:2938



 1    Exh. H, J, K). Further, the waiver form was still not signed by Dr. Dirbas not even when
 2    he filed his March 30, 2020 Motion to Dismiss and Strike. Therefore, sanctions in addition
 3    to costs and fees should be awarded for this conduct. Hilton Hotels Corp. v. Banov, 899
 4    F.2d 40, 283 U.S. App. D.C. 232 (D.C. Cir. 1990); Roadway Exp., Inc. v. Piper, 447 U.S.
 5    752, 767, 100 S. Ct. 2455, 65 L. Ed. 2d 488 (1980) (bad faith)
 6
            Despite two independent declarations under oath filed by third party process servers
 7
      attesting service was effectuated on Dr. Dirbas (Docket No. 58), Dr. Dirbas claimed that
 8
      service has never been effectuated on him. (ECF 63, Decl. Dirbas, generally) “The general
 9
      rule is that [a] signed return of service constitutes prima facie evidence of valid service,
10
      which can be overcome only by strong and convincing evidence.” Thomas, 278 F.R.D. at
11
      351 (quoting People's United Equip. Fin. Corp. v. Hartmann, 447 Fed. Appx. 522, 524
12
      (5th Cir. 2011)) (internal quotations and citations omitted). Dr. Dirbas’s claims go to the
13
14    credibility of the witnesses here, whereby the third-party servers’ declarations (See Exh.

15    I, J) contrast with Dr. Dirbas’ arguments to the Court. (Decl. Dirbas ¶¶2-5) Comparing
16    these neutral process server Declarations to Defendant Dr. Dirbas, Dr. Dirbas urges the
17    court to place an improper reliance on his implausible explanatory party affidavit in
18    denying that he ever knew about the lawsuit before March 2, 2020. (Veliz, Infra)
19    According to the Veliz court infra, this type of challenge has been addressed in the courts,
20    in favor of the neutral party process server. “On the rare occasion a defendant challenges
21    whether service was in fact made as reflected in the return of service, the rule is that “[a]
22    signed return of service constitutes prima facie evidence of valid service”. People’s
23    United Equip. Fin. Corp. v. Hartmann, 447 F. App’x 522, 524 (5th Cir. 2011). The
24
      presumption of valid service under Hartmann applies when a defendant denies that such
25
      service took place. Moreno v. LG Elecs., U.S.A. Inc., No. 7:13-CV-427, 2014 WL
26
      11281383, at *3 (S.D. Tex. May 7, 2014). “Such an interpretation of Hartmann is logical,
27
      given that service was challenged by the plaintiffs in that case on the ground that the
28
      process server was lying when he claimed to have left copies of the summons and the
      complaint with a person of suitable age at the defendants' domicile. Where the dispute
                                                   20                                          32
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                 17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 34 of 131 Page ID
                                       #:2939



 1    over validity of service effectively becomes a swearing match, it is reasonable for a court
 2    to attribute extra weight to the sworn declaration of the neutral process server.” Veliz v.
 3    Rimax Contractors, Inc., 2016 WL 1704496, at *1, n.3 (E.D. La. Apr. 28, 2016)
 4    (discussing Moreno’s interpretation of Hartmann).
 5          All of the summonses and the Complaint listing the Defendant corporation
 6
      (Stanford) and its Defendant employees or agents were served on “Kaboa Moua” an agent
 7
      for service of process at the Office of General Counsel at Stanford on December 19, 2019.
 8
      The Complaint listed all Stanford Defendants including Dr. Dirbas. (Docket No. 46)
 9
      Hence, Rule 4(h)(1)(B) was satisfied. On December 19, 2019 and thereafter additional
10
      Defendants were personally served the Summons and Complaint (FAC). (See Docket No.
11
      47) Notwithstanding that all Defendants are either known employees, agents, departments,
12
      and/or alter egos of Defendants whose agent of process is Debra Zumwalt, certain
13
14    Defendants have also knowingly attempted to evade service. In fact, Relator made five

15    highly specific written inquiries to defense counsel as to the representation of “Dr.
16    Dirbas”, all of which were inexplicably albeit patently disregarded. (See e.g. Decl. Juarez
17    ¶¶ 4,11, and Exhibits B, F,) It was obvious to all that Dr. Dirbas was represented, or was
18    to be represented by Stanford counsel. That was never a question. The issue that remained
19    to be determined was why defense counsel was strategically disregarding any and all
20    questions about Dirbas’s representation, despite a number of written inquiries directly
21    requesting defense counsel confirm their representation. More than that, Dr. Dirbas denies
22    he was even served after evading some 28 service attempts, and after Dr. Dirbas was
23    finally served on January 27, 2020 through his receptionist “Veronica” at Stanford who
24
      accepted service on his behalf. (See Exhibit J) On March 2, 2020 Relator’s counsel also
25
      emailed an electronic copy of the SAC 6 to Dr. Dirbas and carbon copied defense counsel
26
      Mr. Sheeder. Having received neither a response nor instruction from either Dr. Dirbas or
27
      counsel Mr. Sheeder, there remained ambiguity in Defendants’ strategy in either
28
            6
              Mr. Sheeder has agreed on behalf of Stanford Defendants accept to electronic
      service in this case.
                                                  21                                         33
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                               17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 35 of 131 Page ID
                                       #:2940



 1    dissimulating service of the Summons, or needlessly delaying and increasing the costs of
 2    litigation, or both. (Decl. Juarez ¶¶5-6) (See Exh. M) Defendants’ and their counsel’s
 3    baseless stonewalling resulted in unnecessary litigation delay. (See EXH. G, H, I) In fact,
 4    until defense counsel Mr. Sheeder surreptitiously filed a “motion to dismiss and strike” on
 5    behalf of Dr. Dirbas March 30, 2020, at no time had Dr. Dirbas’s counsel Mr. Sheeder
 6
      ever uttered “Dirbas” in any communication to Relator, written or otherwise. Relator was
 7
      forced to serially retain two independent processors to personally serve Dirbas. (See Exh.
 8
      I , J) These largely gratuitous service of summons attempts and “cat-and-mouse” games
 9
      as to these Stanford corporate and employee Defendants resulted in unnecessary costs of
10
      $1275.60 for otherwise straightforward Rule 4(d) waivers (See Exhibits I, J, K, L) See
11
      Hilton In summary, from December 13, 2019 to January 23, 2020 personal service of the
12
      Summons was attempted on Dr. Dirbas in Menlo Park no less than eleven (11) times. (See
13
14    Exhibits G, I, J) From December 24, 2019 to February 23, 2020 further personal service

15    of the Summons and was attempted by a second vendor on Dr. Dirbas no less than
16    seventeen (17) times. (Decl. Juarez ¶¶12) (See Exhibit H) Thus, service costs thus far are
17    $703.10 for Defendant Dr. Dirbas. Notably, there was no doubt that Dr. Dirbas occupied
18    the Menlo Park address because the mailbox was labeled “Frederick Dirbas” and
19    neighbors confirmed the same. (Decl. Juarez ¶10) (See Exh. G) Moreover, Dr. Dirbas
20    never denied that the Menlo Park address was his address. (See Decl. Dirbas ¶2-5, ECF
21    63) He also did not state that he was in any way unaware of this action through his counsel
22    and Stanford, because that would be untrue. (Id.) There’s little to no basis to have created
23    such litigation delay and expense. After all, Dr. Dirbas is a “20+ year” long term employee
24
      of corporate Defendant Stanford, and it is highly implausible that he would not have been
25
      notified that he was named in this suit before March 2, 2020, as he claims. (Decl. Dirbas
26
      ¶2-5, ECF 63) What is more is that Defendants and counsel were well aware of this suit
27
      and Dr. Dirbas’s involvement as far back as August 15, 2019 when the State sent Mr.
28
      Sheeder a copy of the FAC. (Decl. Juarez ¶7) Service was ultimately effectuated on Dr.
      Dirbas on January 27, 2020 (See Exhibit “J”) and mail service was effectuated on February
                                                  22                                          34
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                                17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 36 of 131 Page ID
                                  #:2941




                                                                                 35
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 37 of 131 Page ID
                                  #:2942




                                                                                 36
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 38 of 131 Page ID
                                  #:2943




                                                                                 37
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 39 of 131 Page ID
                                       #:2944



 1    attorney’s fees for which Relator may be entitled.
 2
 3                  Respectfully Submitted on this 2nd day of June 2020.
 4
 5                             GLORIA M. JUAREZ
 6
                                       s/ Gloria Juarez
 7
                                      GLORIA MORIN JUAREZ
 8                                    LAW OFFICE OF GLORIA JUAREZ
 9                                    Attorneys for Relator
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                  26                                    38
      MOTION FOR SANCTIONS, COSTS, AND ATTORNEY’S FEES PURSUANT TO RULE 11
       UNITED STATES VS. STANFORD                                          17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 40 of 131 Page ID
                                  #:2945




                       Exhibit B
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 41 of 131 Page ID
                                       #:2946



From:                           GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com>
Sent:                           Tuesday, June 2, 2020 8:32 PM
To:                             Sheeder, Frank; Chemerinsky, Kim
Cc:                             Kortum, Frank (USACAC)
Subject:                        Re: Notice of Rule 11 Motion
Attachments:                    20-7-1~1.PDF; 20-7-13 3.100 Decl Juarez.pdf


EXTERNAL SENDER – Proceed with caution



Counsel,
Please find attached hereto the further pleadings to the Notice and Motion.
Thank you

On Tue, Jun 2, 2020 at 5:56 PM GLORIA JUAREZ, ESQ. <gloria@thegjlaw.com> wrote:


      Dear Mr. Sheeder and Ms. Chemerinsky,

      In follow up to our telephonic meeting on May 26, 2020, and the prior written correspondence dated May
      25, 2020, please find the following for your review and time sensitive response. Pursuant to Fed. R. Civ. P .
      11(c) (2), attached is a service copy of the Fed. R. Civ. P. 11 Motion for Sanctions (“Motion for Sanctions”)
      which we are providing to you. We demand that you withdraw and seal the de-anonymized portions of
      your Motion (ECF 64) within 21 days of the date of this letter. If you refuse to comply with this demand to
      mitigate your pleading conduct in ECF 64 (having publicly de-anonymized Relator without order of the
      court) then we will be forced to file the attached Motion for Sanctions with the Court.



        Very Truly Yours,
        Gloria




                                                     GJ
                                                  Gloria Juarez

                                                         1                                                    39
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 42 of 131 Page ID
                                       #:2947
                            LAW OFFICES OF GLORIA JUAREZ

                                 ORANGE COUNTY OFFICE
                               26081 Merit Circle , Suite 112
                                  Laguna Hills, CA 92653
                                    Tel. 213-598-4439
                                  Facsimile 714-919-0254




--


                                         GJ
                                    Gloria Juarez
                           LAW OFFICES OF GLORIA JUAREZ

                                ORANGE COUNTY OFFICE
                              26081 Merit Circle , Suite 112
                                 Laguna Hills, CA 92653
                                   Tel. 213-598-4439
                                 Facsimile 714-919-0254




                                             2                                        40
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 43 of 131 Page ID
                                       #:2948



 1    Gloria Juarez, California State Bar No. 109115
      LAW OFFICES OF GLORIA JUAREZ
 2
      26081 Merit Circle, Suite 112
 3    Laguna Hills, CA 92653
      Tel: 213-598-4439
 4
      Email: gloria@thegjlaw.com
 5           tootsieglo@sbcglobal.net
      ATTORNEYS FOR RELATOR EMILY ROE
 6
 7
                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                     WESTERN DIVISION

10    THE UNITED STATES OF AMERICA;               Case No.: CV17-08726-DSF(AFMx)
11    ex. Relator Emily Roe., an individual;      JUDGE: The Hon. Dale S. Fischer
                      Plaintiff,
12
13                       vs.                      DECLARATION OF SERVICE
                                                  RULE 11(c)(2) CERTIFICATE
14    STANFORD HEALTHCARE BILLING
15    DEPARTMENT, STANFORD HEALTH
      CARE (FORMERLY KNOWN AS
16    STANFORD       HOSPITALS     AND
17    CLINICS), DR. FREDERICK DIRBAS,             HEARING DATE: July 13, 2020
      DEBRA ZUMWALT, THE BOARD OF                 TIME:          1:30 p.m.
18    DIRECTORS OF THE STANFORD                   CTRM:  7D (First Street Courthouse)
19    HEALTH CARE, THE BOARD OF                           350 West 1st Street
      DIRECTORS OF THE LUCILE SALTER                      Los Angeles, CA 90012
20    PACKARD CHILDREN'S HOSPITAL
21    AT STANFORD, THE LELAND JUNIOR
      UNIVERSITY, THE BOARD OF
22    TRUSTEES       OF       STANFORD
23    UNIVERSITY, STANFORD HEALTH
      CARE ADVANTAGE, and DOES 1-10,              Complaint Filed:        Dec. 4, 2017
24    inclusive,                                  First Amended Complaint June 22, 2018
25                   Defendants.                  Complaint Unsealed      July 30, 2019
                                                  Second Amend Complaint March 2, 2020
26
27
28
                                    1
                                                               41
       DECLARATION OF SERVICE IN SUPPORT OF MOTION FOR SANCTIONS
       CV17-08726-DSF(AFMx)                              United States vs. Stanford et al.
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 44 of 131 Page ID
                                       #:2949



 1                                 RULE 11(c)(2) CERTIFICATE
 2
 3          Pursuant to Rule 11(c)(2), I hereby certify under the penalty of perjury of the United
 4    States that on the 2nd day of June 2020, I served by electronic mail upon Defendants, a
 5    copy of the foregoing Relator Emily Roe’s Notice of Motion and Motion for Sanctions
 6
      Pursuant to Fed. R. Civ. P. 11, together with a letter stating as follows:
 7
            “In follow up to our telephonic meeting on May 26, 2020, and the prior written
 8
      correspondence dated May 25, 2020, please find the following for your review and time
 9
      sensitive response. Pursuant to Fed. R. Civ. P. 11(c) (2), attached is a service copy of the
10
      Fed. R. Civ. P. 11 Motion for Sanctions (“Motion for Sanctions”) which we are providing
11
      to you. We demand that you withdraw and seal the de-anonymized portions of your
12
      Motion (ECF 64) within 21 days of the date of this letter. If you refuse to comply with this
13
14    demand to mitigate your pleading conduct in ECF 64 (having pre-emptively publicly de-

15    anonymized Relator without authority or order of the court) then we will be forced to file
16    the attached Motion for Sanctions with the Court.”
17
                              LAW OFFICES OF GLORIA JUAREZ
18
19
                                         s/ Gloria Juarez
20                                       GLORIA M. JUAREZ
21                          Gloria Juarez, California State Bar No. 109115
22                                  Counsel for Relator, Emily Roe
23
24
25
26
27
28



                                                                                              42
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 45 of 131 Page ID
                                       #:2950



 1                                CERTIFICATE OF SERVICE
 2
             I, the undersigned, declare under penalty of perjury of the United States that I am a
 3
      citizen of the United States over 18 years of age and I am not a party to the above-entitled
 4    action. I have caused service of the following document(s), described as RELATOR’S
 5    NOTICE OF MOTION AND MOTION FOR SANCTIONS PURSUANT TO RULE
 6    11, which was electronically served on all parties or persons requiring notice, addressed
      as stated below:
 7
 8          FRANK E. SHEEDER III (Admitted Pro Hac Vice)
 9          SEAN R. CRAIN (State Bar No. 291515)
            2200 Ross Avenue, Suite 2300
10          Dallas, TX 75201
11          Telephone: 214-922-3400/ Facsimile: 214-922-3899
            E-mail:     frank.sheeder@alston.com
12
13          KIMBERLY K. CHEMERINSKY (State Bar No. 277637)
            333 S. Hope Street, 16th Floor
14          Los Angeles, CA 90071
            Telephone: 213-576-1000
15          Facsimile: 213-576-1100
            Email:      kim.chemerinsky@alston.com
16          COUNSEL FOR DEFENDANTS
17
18
            FRANK D. KORTUM
19          Assistant United States Attorney
20          Room 7516, Federal Building
            300 N. Los Angeles St.
21          Los Angeles, CA 90012
22          Email: Frank.Kortum@usdoj.gov
            COUNSEL FOR PLAINTIFF THE UNITED STATES OF AMERICA
23
24    Executed in   California on this 2nd day of June, 2020
25
                                        /s/ Arthur Long
26                                 By
                                        Arthur Long
27                                      Assistant to Ms. Juarez,
                                        Counsel for Relator
28



                                                                                              43
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 46 of 131 Page ID
                                       #:2951



 1    Gloria M. Juarez, California State Bar No. 109115
 2    LAW OFFICES OF GLORIA JUAREZ
      26081 Merit Circle, Suite 112
 3    Laguna Hills, CA 92653
 4    Tel: 213-598-4439
      Fax: 714-919-0254
 5    Email: gloria@thegjlaw.com
 6           tootsieglo@sbcglobal.net
      ATTORNEYS FOR RELATOR EMILY ROE
 7
 8
                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                      WESTERN DIVISION
11    THE UNITED STATES OF AMERICA;               Case No.: CV17-08726-DSF(AFMx)
12    ex. Relator Emily Roe., an individual;      JUDGE: The Hon. Dale S. Fischer
                      Plaintiff,
13
14                        vs.
15                                                DECLARATION OF GLORIA
      STANFORD HEALTHCARE BILLING                 JUAREZ, AND EXHIBITS IN
16    DEPARTMENT, STANFORD HEALTH                 SUPPORT THEREOF TO
17    CARE (FORMERLY KNOWN AS                     RELATOR’S MOTION FOR
      STANFORD       HOSPITALS     AND            SANCTIONS PURSUANT TO RULE
18
      CLINICS), DR. FREDERICK DIRBAS,             11(c)(2)
19    DEBRA ZUMWALT, THE BOARD OF
20    DIRECTORS OF THE STANFORD
      HEALTH CARE, THE BOARD OF                   HEARING DATE: July 13, 2020
21    DIRECTORS OF THE LUCILE SALTER              TIME:          1:30 p.m.
22    PACKARD CHILDREN'S HOSPITAL                 CTRM:    7D (First Street Courthouse)
      AT STANFORD, THE LELAND JUNIOR                       350 West 1st Street
23    UNIVERSITY, THE BOARD OF                             Los Angeles, CA 90012
24    TRUSTEES       OF       STANFORD
25    UNIVERSITY, STANFORD HEALTH                 Complaint Filed:       Dec. 4, 2017
      CARE ADVANTAGE, and DOES 1-10,
26    inclusive,
27                   Defendants.
28

                                           1
             DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                      TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                         44

      UNITED STATES vs. STANFORD                                     17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 47 of 131 Page ID
                                       #:2952



 1    DECLARATION OF GLORIA JUAREZ IN SUPPORT
 2
 3       1. I am an attorney duly admitted to practice law before all courts in the State of

 4          California, and the Federal Courts. I have personal knowledge of the facts set forth
 5          in this Declaration and if necessary, could competently testify thereto under oath.
 6       2. On June 2, 2020, my office served Defendants and counsel Mr. Sheeder and Ms.
 7          Chemerinsky with a copy of Relator’s Motion for Sanctions pursuant to Rule 11(c),
 8
            as well as the letter in the attached Declaration of Service pursuant to Rule 5 stating
 9
            the following:
10
11              “In follow up to our telephonic meeting on May 26, 2020, and the prior

12              written correspondence dated May 25, 2020, please find the following
13              for your review and time sensitive response. Pursuant to Fed. R. Civ. P.
14              11(c) (2), attached is a service copy of the Fed. R. Civ. P. 11 Motion for
15              Sanctions (“Motion for Sanctions”) which we are providing to you. We
16              demand that you withdraw and seal the de-anonymized portions of your
17              Motion (ECF 64) within 21 days of the date of this letter. If you refuse
18              to comply with this demand to mitigate your pleading conduct in ECF
19              64 (having preemptively publicly de-anonymized Relator without
20              authority or order of the court) then we will be forced to file the attached
21
                Motion for Sanctions with the Court.”
22
         3. On December 30, 2019 I received an email from lead defense counsel Mr. Sheeder
23
24          representing that he was asserting in his Motion to Dismiss (MTD) basis including

25          Rule10(a), and Rules 12(b)(5) and 12(b)(6)). On January 3, 2020 I received a second
26          letter from Mr. Sheeder reiterating his same basis for filing the MTD. However, his
27          MTD which he then filed on or about Jan. 7, 2020 failed to raise Rule 10(a) or
28          12(b)(5), thereby I assumed those claims waived from any subsequent MTD.

                                           2
             DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                      TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                                45

      UNITED STATES vs. STANFORD                                           17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 48 of 131 Page ID
                                       #:2953



 1          Attached hereto as Exhibit “A” are the true and correct copies of Mr. Sheeder’s
 2          communications representing that he would raise in his MTD all arguments cited
 3          including Rule 10(a).
 4
         4. On December 31, 2019 I responded to defense counsel Mr. Sheeder 1, also
 5
            requesting that he reply as to representation status of Dr. Dirbas as well as executing
 6
            a Rule 4(d) waiver for service. Having received no reply, then on January 2, 2020 I
 7
            emailed a second request for defense’s response as to Rule 4(d) waiving service for
 8
 9          Defendants including Dr. Dirbas. On January 4, 2020 I again electronically

10          transmitted a response letter to Mr. Sheeder as to waiving service for Defendants

11          (including Dr. Dirbas) and objecting to his office’s urge to de-anonymize Relator
12          and explained the exceptional circumstance basis. Attached hereto as Exhibit “B”
13          are the true and correct copies of my correspondences. I did not receive any
14          response.
15
         5. I reasonably believed that the pseudonym issue had been resolved because
16
            Defendants’ Motion to Dismiss which defense counsel Mr. Sheeder filed on January
17
            7, 2020 did not raise “name” or Rule 10(a) or for that matter Rule 12(b)(5) (service)
18
            at all despite Mr. Sheeder’s earlier representation stating otherwise. Therefore, I
19
            believed him to have waived both of those issues on his MTD, and thus conceded
20
            on those issues.
21
22       6. On March 2, 2020 my office filed and served the Second Amended Complaint
23          (SAC). On or about March 10, 2020 I received a communication from defense
24          counsel Mr. Sheeder that the addresses for two Defendants (one being Dr. Dirbas)
25          were in the SAC. He asked that they be redacted, and I agreed to do so, and
26
            1
27             It was obvious to all that Mr. Sheeder was representing all Stanford Defendants
      in this case because of his communications with Relator’s counsel in this FCA, as well
28    as his prior representation of Stanford Defendants in the last Stanford Children’s
      Hospital false anesthesia claims and upcoding FCA which Stanford settled with the
      State.
                                              3
                DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                         TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                             46

      UNITED STATES vs. STANFORD                                           17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 49 of 131 Page ID
                                       #:2954



 1          requested his office prepare a stipulation that we would sign to that effect. Mr.
 2          Sheeder never responded to my offer. Attached hereto as Exhibit “M” is a true and
 3          correct copy of my correspondence with defense counsel offering to enter into
 4          stipulation to redact the addresses. I also sent an additional communication
 5          thereafter offering in good faith to execute a stipulation for the requested redactions.
 6
         7. Defendants filed their second and third Motions to Dismiss (ECF 63 and 64) on
 7
            March 30, 2020. Due to the national COVID-19 crisis and lockdown, on or about
 8
 9          March 23, 2020 I notified defense counsel by phone and email that due to a personal

10          and family emergency I would be precluded from performing work in this case. As

11          a result of the COVID-19 lockdown, all parties agreed to Mr. Sheeder’s stipulation
12          to calendar the MTD (ECF 63 and 64) for July 13, 2020 and agreed on briefing to
13          set for May 29, 2020 to allow everyone time to recover from the crisis. The Court
14          endorsed that stipulation into Order.
15
         8. On May 25, 2020 while reviewing Defendants’ Motion to Dismiss (ECF 64) for the
16
            first time, I learned that defense counsel had preemptively de-anonymized Relator
17
            on page 3 of their motion, without an order from the court allowing the same. I
18
            immediately thereafter corresponded with Defendants’ counsel and demanded that
19
            he rectify his filing conduct and withdraw his pleading. This notice gave defense
20
            more than 21 days before the hearing date of July 13, 2020 to mitigate their pleading
21
22          conduct. Attached hereto as Exhibit “C” is a true and correct copy of my

23          communication.

24          On the morning of May 26, 2020, I also then called defense counsel Mr. Sheeder
25          and telephonically met and conferred as to this sensitive issue. Mr. Sheeder declined
26          my request and represented that he would not agree to redact or withdraw his de-
27          anonymized pleading. (ECF 64) I do not believe that Mr. Sheeder’s office intended
28
            to act in good faith when they placed the footnote on page 3 of his motion (ECF

                                           4
             DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                      TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                                 47

      UNITED STATES vs. STANFORD                                           17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 50 of 131 Page ID
                                       #:2955



 1          64) de-anonymizing Relator without authority of the court, and there was no
 2          reasonable basis for him to do so and then patently decline to redact that improper
 3          footnote other than to vex, harass, and threaten Relator.
 4
         9. In relevant history, on August 15, 2019, 2 weeks after this case was unsealed on
 5
            July 30, 2019, Stanford counsel was sent a courtesy electronic and conformed copy
 6
            of the First Amended Complaint (FAC) and requested to contact my office. I did
 7
            not receive a response to that request. Attached hereto as Exhibit “D” is a true and
 8
 9          correct copy of that email from the State (California Department of Insurance) to

10          defense counsel Mr. Sheeder explaining that the State believed that the Complaint

11          contained “serious allegations worthy of analysis by Stanford”. Accordingly, I am
12          aware that Relator’s allegations and filed FCA has brought Defendants under
13          undesired and extensive scrutiny by the government including the United States and
14          the State. (EFC 50, 70, and 71) Hence, without otherwise violating attorney-client
15          privilege, I am personally informed and believe that Defendants have ample reason
16          for their actualized threats to my client which have been made both personally and
17          professionally as a result of litigation with Defendants.
18
         10. On September 13, 2019 I had written to defense counsel Mr. Sheeder and requested
19
            that his office agree to a Rule 4(d) waiver for service of the Summons and
20
            Complaint. I did not receive a response to my request. Attached hereto as Exhibit
21
22          “E” is a true and correct copy of my correspondence.

23       11. On December 31, 2019 I had again written to Stanford counsel and requested that
24          they execute a Rule 4(d) waiver for service of the Summons and Complaint. I did
25          not receive a response to my request. Attached hereto as Exhibit “F” is a true and
26          correct copy of my letter.
27
         12. As a result of Defendants’ intransigence in either admitting to representation of Dr.
28
            Dirbas or agreeing to Rule 4(d) for him alone, Relator incurred out-of-pocket costs
                                           5
             DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                      TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                               48

      UNITED STATES vs. STANFORD                                          17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 51 of 131 Page ID
                                       #:2956



 1          of $291.50 to OneLegal for process service at his Menlo Park address. These third-
 2          party service costs spanned a total of 28 attempts at personal service and were
 3          significantly higher because Dr. Dirbas was reported to me to be evading service.
 4          Attached hereto as Exhibit “G” is a true and correct copy of that paid remittance.
 5
         13. Relator further incurred out-of-pocket costs of $121.10 to CPS to another vendor
 6
            for personal process service to Dr. Dirbas at the Menlo Park address. Attached
 7
            hereto as Exhibit “H” is a true and correct copy of that paid remittance.
 8
 9       14. Relator incurred additional out-of-pocket costs of $291.50 to OneLegal for
10          substitute mail process service to Dr. Dirbas at his Stanford address. Attached hereto
11          as Exhibit “I” is a true and correct copy of that paid remittance.
12
         15. Attached hereto as Exhibit “J” is a true and correct copy of the date of substitute
13
            personal service of the Summons and Complaint on Dr. Dirbas’s receptionist
14
            Veronica at his Stanford clinic on Jan. 27, 2020, of which he denies receipt.
15
16       16. Attached hereto as Exhibit “K” is a true and correct copy of the date of mail service
17          of the Summons and Complaint on Dr. Dirbas’s Stanford address on February 20,
18          2020, of which he also denies timely receipt until “March 3, 2020”.
19
         17. Relator incurred further out-of-pocket costs due to Defendants’ declination to
20
            execute a simple Rule 4(d) waiver, which otherwise was very appropriate in this
21
            case and would have avoided unnecessary litigation costs and delay in particular for
22
            personal service on Dr. Dirbas. Had a number of these closely related Defendants
23
            also not evaded service, process service costs to the remaining Stanford Defendants
24
            were largely unnecessary. Attached hereto as Exhibit “L” are true and correct copies
25
            of those paid remittances including amounts of $131.25, $115.00, $115.00, $80.00,
26
27          $131.25, and $131.25. In any event, in my opinion Defendants’ tactics have resulted

28          in largely avoidable and unnecessary case costs and fees.

                                           6
             DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                      TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                               49

      UNITED STATES vs. STANFORD                                          17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 52 of 131 Page ID
                                       #:2957



 1       18. On no less than four dates I wrote to defense counsel Mr. Sheeder and his associates
 2          and inquired as to Dr. Dirbas’s representation including on Dec 31, 2019, January
 3          2, 2020, January 14, 2020, and again on March 13, 2020. On at least three separate
 4          dates I also offered Mr. Sheeder in writing to execute Rule 4(d) service waivers with
 5          Defendants. At no time did defense counsel respond to me or confirm that they
 6
            represented Dr. Dirbas. The first time I learned that defense counsel was admitting
 7
            to representing Dr. Dirbas was their March 30, 2020 motions (ECF 63 and 64).
 8
 9       19. On or about mid December 2019, Mr. Sheeder counsel for Defendants had agreed

10          by email to accept electronic service as to this entire action, and the SAC and

11          Exhibits thereto was electronically served on Mr. Sheeder per counsel agreement.
12       20. Attached hereto as Exhibit “N” is a true and correct copy of the online yellow pages
13          directory for Dr. Frederick Dirbas at “Software for Surgeons” which my office
14          downloaded from https://business-open.com/directory/software-for-surgeons-los-
15
            altos/. Dr. Dirbas’s company profile confirms his publicly published business
16
            address for “Software for Surgeons” at the Menlo Park address.
17
18       21. I spent 10.4 hours researching, preparing, and drafting this pleading. I anticipate

19          expending an additional 7.25 hours reviewing Defendant’s opposition, drafting a

20          response, and appearing at hearing, if one is permitted on this matter.
21       22. I have been a California licensed attorney in good standing since 1983. I have more
22          than 35 years of experience in law. A fair hourly fee for an attorney of my
23          experience and training in this type of complex litigation is $550/hour. Accordingly,
24
            I respectfully request a court award of fees of $9707.50 for this motion plus costs,
25
            or an amount deemed appropriate and awarded by the court.
26
27       I declare under the penalty of perjury of the State of California that the foregoing is

28       true and correct. EXECUTED in Los Angeles, California on this 1 st Day of June
         2020.
                                           7
             DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                      TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                               50

      UNITED STATES vs. STANFORD                                          17-CV08726-DSF
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 53 of 131 Page ID
                                       #:2958



 1                                  s/ Gloria Juarez
 2                                  GLORIA M. JUAREZ

 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           8
             DECLARATION OF GLORIA JUAREZ AND EXHIBITS IN SUPPORT THEREOF
                      TO RELATOR’S RULE 11 MOTION FOR SANCTIONS                       51

      UNITED STATES vs. STANFORD                                  17-CV08726-DSF
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 54 of 131 Page ID
                                  #:2959




               Exhibit A
                                                                                 52
Case 2:17-cv-08726-DSF-AFM             Document 79-1 Filed 07/06/20 Page 55 of 131 Page ID
                                                       #:2960
      
      
      
       
       
       

      

      

      
      
      
                                                                                                      
      
                                                                     
                                          
      
      
                                                                       
      
       

      
      

      

      



      
      
      
      
      
      




                                                                                                                         53
              
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 56 of 131 Page ID
                                  #:2961




                                                                   Chase Tower
                                                           2200 Ross Avenue, Suite 2300
                                                                 Dallas, TX 75201
                                                         214-922-3400 | Fax: 214-922-3899


    January 3,
            3, 2020

    Ms. Gloria Juarez, Esq.
    Law Offices of Gloria Juarez
    VIA email to tootsieglo@sbcglobal.net and gloria@thegjlaw.com

    Re:         U.S. ex rel. Roe, et al. v. Stanford Healthcare Billing Department, et al., 2:17-cv-08726-DSF-
                AFM

    Dear Ms. Juarez,

    As you know from our previous communications, we represent Stanford Health Care, Stanford
    Health Care Advantage, The Leland Stanford Junior University, and Ms. Debra Zumwalt (collectively,
    the “Moving Defendants”).

    We request to meet and confer with you about a motion we intend to file on behalf of the Moving
    Defendants.
    D efendants. The basis for the motion is that the case should be dismissed under Rule 10
                                                                                          10(a)
                                                                                             (a) because
    the Relator is not identified and is attempting instead to proceed improperly under a pseudonym.

    We have availability for a telephonic conference on Monday, January 6, 2020, from 9:00 a.m. to
    noon, and from 1:30 p.m. to 4:00 p.m., PST. Please let us know a time that works best for you and
    we will give you a call.

    We will look forward to hearing from you as to when you are available on Monday and to conferring
    on this motion.

    Sincerely,



    Frank E. Sheeder




    Alston & Bird LLP                                                                                                             www.alston.com

    Atlanta | Beijing | Brussels | Charlotte | Dallas | London | Los Angeles | New York | Raleigh | San Francisco | Silicon Valley | Washington, D.C.   54
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 57 of 131 Page ID
                                  #:2962




               Exhibit B
                                                                                 55
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 58 of 131 Page ID
                                  #:2963




                                             GJ
                                   Gloria Juarez, Esq.
                            LAW OFFICES OF GLORIA JUAREZ
                               26081 Merit Circle, Suite 112
                                  Laguna Hills, CA 92653
                                 Telephone (213) 598-4439
                                     Fax 714-919-0254
                                  Gloria@theGJLaw.com


 Mr. Frank Sheeder
 Counsel for Defendants


   RE: UNITED STATES et. al ex. relator Roe vs. STANFORD et. al.              CV 17-08726-DSF


 December 31, 2019

                                                                Delivery by Email
 Dear Counsel,

        We are following up on my office’s telephonic outreach attempt to you last evening.

         We respectfully request your review of our prior meet and confer correspondence dated
 December 16, 2019. It is our belief that we have yet to receive responses to substantial portions
 of our communication, which were requested.

         As you stated, Defendants were personally served on December 17, 17, 2019,
                                                                               2019, other than
 several of yourr defendant clients who appeared to be evading service
                                                                service not in good faith. A copy of
 the First Amended Complaint was sent to you on August 15, 2019 by the California Department
 of Insurance. In response to your representation that your office represents the Defendants, our
 office also subsequently transmitted courtesy electronic copies of the FAC and Exhibits.
 Nonetheless, we contend that the FAC has been properly served.

        Any perceived deficiency your office contends in naming defendant “The Leland
 [Stanford] Junior University” is at best a simple procedural amendment “erroneously named”,
 and not a reasonable basis for evading service. There is no ambiguity as to the named
 Defendants. Thus, we assert that all Defendants have been served compliant with local rules.

         Notwithstanding the foregoing, we have no objection
                                                      objection to Defendants’ proposed request for
                                                                                                for
 Waivers
 W  aivers of Service of Summons pursuant to Rule 12 (for 60 days), conditioned on
 straightforward agreement for a stipulation of parties to file a Second Amended Complaint on or
 _____________________________________________________________________________________
 Page | 1
 UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF                             56
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 59 of 131 Page ID
                                  #:2964



 about our conference the week of January 6th, 2020. ((Rule 12(b), (e) or (f), whichever is earlier.
 Fed. R. Civ. P. 15(a)) While we are amenable to all discussions prior to the commencement of
 litigation, the basis for a possible SAC are two-fold, one to more narrowly tailor the U.S.C. 3279
 claims (as the 1871 State Claims were dismissed without prejudice), and two, to better
 streamline the allegations.

         Please forward the proposed request for waivers to us for review, and indicate your
 agreement to the stipulation. Thank you in advance for your anticipated cooperation and
 assistance.

        Happy holidays to you both, and happy New Year’s.

 Very Truly Yours,

  GJ




 _____________________________________________________________________________________
 Page | 2
 UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF                             57
Case 2:17-cv-08726-DSF-AFM                Document 79-1 Filed 07/06/20 Page 60 of 131 Page ID
                  
                                                                 #:2965

                                                                                   



  
  
  

                                                                 
                                                                                                          
  
  

    
     

    
    
                                                        
    
                            
    
    

    
    
                                      
    
       
    
    
    
    


    
    
    
    
    
    
    
    
    
    
    
    


    

                                                                
                                                      
                                            
                                               
                                               
                                                  
                                                     
                                                    



          
          
          


                                                                                                                                    58
         
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 61 of 131 Page ID
                                  #:2966




                                                                                 59
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 62 of 131 Page ID
                                  #:2967




                                                 GJ
                                     Gloria Juarez, Esq.
                              LAW OFFICES OF GLORIA JUAREZ
                                 26081 Merit Circle, Suite 112
                                    Laguna Hills, CA 92653
                                   Telephone (213) 598-4439
                                       Fax 714-919-0254


 Mr. Frank Sheeder
 Mr. Brad Smyer
 Alston & Bird
 Counsel for Defendants
 Email: Frank.Sheeder@alston.com
 Email: Brad.Smyer@alston.com

     RE: UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 17-08726-DSF


 JJanuary
   anuary 4, 2020


                                                                  Expedited Delivery by Email
  Dear Mr. Sheeder,
          We are following up on my office’s telephonic outreach attempts and multiple written
  communications1, which are incorporated by reference herein. Our prior correspondence dated
  12/31/2019 requested a timely response, however we did not receive any communication from you
  until 4 days subsequent.
          Counsel, your two correspondences dated January 3, 2020 contain voluminous
  misstatements and misguided representations, a few of which we have timely addressed herein.
          Regrettably, your December 12, 2019 email also substantially misconstrued our telephonic
  conversation through a “follow-up” surreptitious email which blatantly misrepresented that
  Relator had agreed to dismiss all Defendants except Stanford Healthcare, which was untrue.
          Moreover, as you are aware we have requested your review of our prior meet and confer
  correspondence dated December 16, 2019. It is our belief
                                                       belief that we have yet to receive substantive
 rresponses
   esponses to large portions of our com
                                     communications
                                         munications which have been requested. (See
                                                                                   (See Dirbas below
                                                                                               below).
                                                                                                     ).
  In light of the circumstances, we must respectfully request that all substantive communications be

 1
  Relator counsel written correspondences to defendants include and  not limited to December 31, 2019,
 December 16, 2019, email on or about August 15, 2019, and multiple telephone calls including September 13,
 2019, December 11, 2019. All correspondences have been addressed to Frank.Sheeder@alston.com, and 214922
 3420 or 2142089900.
        ______________________________________________________________________________
                                                                                Page | 1
 UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF
                                                                                                              60
                              LAW OFFICES OF GLORIA JUAREZ
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 63 of 131 Page ID
                                  #:2968



  in writing in order to facilitate transparency and memorialize mutual understanding of certain
  matters.
          Service of Summons and First Amended Complaint
          In relevant history, please allow me to delineate the statement of facts. On August 15,
  2019 California Department of Insurance (“CDI”) emailed you the First Amended Complaint
  (“FAC”), with our office’s contact information for pre-litigation mediation. You neither responded
  to CDI, nor contacted us. On or about September 17, 2019 we again initiated both telephonic and
  email communication with your office as to waiver of service of the FAC and discussions thereto.
          In early December 2019, Relator acting under court order (Docket Entry No. 33), timely
  ordered FRCP Rule 4 personal service of the Summons and Complaint to all Defendants (Relator
  Statement to OSC 4:3-4). As you are aware, several Defendants then evaded personal service,
  requiring expanded and significantly more costly service efforts by third party process servers to
  comply with the order reflected by Docket No. 33.
          In response to your mid December 2019 representation that your office represents
  “Defendants”, Relator counsel’s office also subsequently transmitted courtesy electronic copies of
  the FAC and Exhibits, while engaging in further discussion as to service of process.
          In mid-late December 2019, Relator also transparently emailed Defendants the service of
  process dated notifications from the third-party processor. The proof of service showed
  effectuated personal service on December 17, 2019, other than several of the defendants who
  appeared to be tactically evading service not in good faith.
          Through at least December 31, 2019, Relator Relator in writing accepted a proposed party
 sstipulation
   tipulation to proceed in an alternate Rule 4 “Notice of Waivers” and withheld filing the
  effectuated proofs of service with the court, cconditioned on a straightforward request. You did not
  respond to our time sensitive request to confirm the same. Your assertion of “non-cooperation”
  and proceeding with service despite your consideration of a “waiver” appears rather misleading,
  especially in light of the court’s order, Docket No. 33.
          Similar to your January 3, 2020 correspondence, you have in prior email (on or about
  December 17, 2019) fully acknowledged your awareness of when and the manner in which your
  Defendant clients were served. The former intimates that your office is apparently highly offended
  that the service of process by the 3rd party server as to all Defendants had not immediately ceased,
  despite the fact that your office stated it does not represent all Defendants. It is thus further
  unintelligible why you now dispute your office’s prior acknowledgements of service of summons
  and complaint having been effectuated on December 17, 2019 as to some Defendants.
          Notwithstanding the foregoing, we will re-state that we had no objection to Defendants’
  proposed request for Waivers of Service of Summons pursuant to Rule 4 conditioned on
  straightforward agreement for a stipulation of parties to file a SAC.

        Defendant Dr. Fred Dirbas
        There is certain ambiguity in your firm’s inferred election to exclude this one defendant,
 Dr. Dirbas. Your communications never address this named party ,and have failed to address our
        ______________________________________________________________________________
                                                                                Page | 2
 UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF
                                                                                                         61
                             LAW OFFICES OF GLORIA JUAREZ
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 64 of 131 Page ID
                                  #:2969



 question. Therefore, please clarify if your firm contends it is not representing Defendant (Stanford
 employed doctor) Dr. Dirbas, then your knowledge of his current representation. As you know, if
 Dr. Dirbas was served, and you maintain your assertion that you don’t represent this Stanford
 employee, then the 21-day answer deadline was triggered and litigation has commenced.

         All Stanford Defendants
         As we stated, we believe that any perceived deficiency your office contends in naming
 defendant “The Leland [Stanford] Junior University” is at best a simple procedural amendment
 “erroneously named”, and not a reasonable basis for evading service or calling these “non-legal
 entities”. There is no ambiguity as to the named Defendants or their “legal standing” and no basis
 for your assertion that “they do not exist”. As you know, the FAC pleads that several named
 Defendants are “alter egos”, as there is substantial co-mingling of their assets, revenues, and
 funds.2

          Defendants’ Threat
          Defendants’   Threat toto File
                                    File a Meritless
                                           Meritless “Motion
                                                        “Motion to
                                                                 to Dismiss”
                                                                    Dismiss”
           Defendants’ January 3, 2020 letter
                                          letter states
                                                 states “The
                                                        “The basis for the motion is that the case should
 bbee dismissed under Rule 10(a) because he Relator is   is not identified and is attempting to proceed
   mproperly under a pseudonym.” We believe that your reliance on Rule 10(a) as to an anonymized
 iimproperly
  Relator is not supported by statute. Furthermore, this new “basis” for a dismissal appears at best
  frivolous within the meaning of Rule
                                    Rule 11(b)(1)
                                          11(b)(1) and Rule
                                                         Rule 11(b)(3).
          Moreover, upon your initiated request for an in person “mediation” this coming week of
  January 6th, 2020 in Los Angeles, we had made preparations for such a meeting in good faith,
  only to learn at the 11th hour that you have unilaterally  the same without justification or
  reason.

          Rule 11 Sanctions
          In light of Defendants’ bad faith conduct and attempt to mislead the court with patently
  false allegations of Rule 10(a) issues, Relator intends to seek sanctions (and if required file a
  separate motion) pursuant to Rule 11 for Defendants’ frivolous and fabricated basis for a motion
 to dismiss. (Rule 11(b)(1)).
          Based on the fact that Defendants have threatened to file a knowingly frivolous motion to
  dismiss for Rule 10(a) an anonymized Plaintiff, itt should not take substantial
                                                                         substantial detective
                                                                                     detective work
                                                                                               work for
                                                                                                    for
 tthe
   he court to see that Defendants are intending to misuse the court’s processes simply as delay
 tactics in this litigation.
          Relator
          R elator has
                   has filed
                        filed this
                              this aaction
                                     ction anonymously, under the pseudonym “Emily
                                                                              “Emily Roe,” for at least
 tthree
   hree separate and legally sufficient
                                 sufficient reasons. Importantly, Relator has a constitutional right to
  protect her and her minor children’s medical privacy, which are neither the thrust of this U.S. 3279
  case or directly raised therein. Next, Relator has proceeded anonymously under good cause court

 2
     Arturo Devesa vs Stanford et al.
        ______________________________________________________________________________
                                                                                Page | 3
 UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF
                                                                                                            62
                                    LAW OFFICES OF GLORIA JUAREZ
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 65 of 131 Page ID
                                  #:2970



  orders which are well known to Defendants. Moreover, as a practicing physician and expert
  consultant for the Department of Consumer Affairs, Relator relies on referrals from other medical
  professionals and expert case review referrals from the State. Stanford healthcare and Stanford
  University have become a dominant force in healthcare and medical academics in California.
  Accordingly, if Relator’s identity were to become publicly known, Relator’s assistance in a false
  claims action against Stanford and an entire cadre of its referring physicians and consultants could
  substantially adversely impact both Relator’s health (physical harm) and medical care at Stanford,
  and her career and family’s finances.
            First, defense counsel Mr. Sheeder conceded telephonically with Ms. Juarez on or about
  December 16  16,, 2019 that “I
                               “ know all about the [underlyi
                                                       [underlying                      action”. Therefore,
                                                                  ng Doe] malpractice action”.     Therefore,
 iitt is reasonable to infer that Mr. Sheeder knew of the multiple court orders in effect as to and
 oordering
     rdering the Plaintiff’s anonymity, as w well
                                               ell as knew Plaintiff’s true name.
            Second, the Doe court flat rejected Stanford’s argument in their motion to dismiss that
  parties could not proceed in litigation given Plaintiff was among some million Stanford patients.
  That court in rejecting Stanford’s motion to dismiss cited in fact that the anonymity was justified
  and would remain based on just cause and good showing. 3
            Here, this action is brough by two Plaintiffs the United States and the State of California,
  the real parties in interest. Fed. Rule 10 states that “the title of the complaint must name all the
  parties”, which this Complaint as a written instrument in fact conforms. There is no stated
  preclusion in Rule 10 for an anonymized party who is named accordingly, and this rule does not
  support Defendant’s contention.            Even assuming arguendo that Defendant’s alternate
  interpretation of the statute was well founded, Defendants
                                                          Defendants areare aware
                                                                            aware of
                                                                                   of Relator’s true name,
                                                                                                        name,
 tthereby
    hereby there is no prejudice or ambiguity in the proceeding. (We intend to reflect the same with
  the Declarations of Gloria Juarez and Relator.)
            Third,
            Thir  d, as Defendants know or should know  know,, Relator
                                                                Relator and
                                                                         and her
                                                                             her minor
                                                                                 minor children
                                                                                        children are
                                                                                                   are active
     tanford patients with
 SStanford              with cu   rrent accounts, hence publicly disclosing Relator’s name would
                               current
  potentially place Relator and her fa  family
                                          mily at substantial risk
                                                              risk for prejudice and physical harm through
  likely loss of access to their Stanford doctors. Moreover, Defendants are well aware that Relator
  has had substantial apprehension about Stanford publicly disseminating her name and private
  medical history, and has of late required
                                      required medical treatment from physical effects
                                                                                   effects of
                                                                                           of this
                                                                                              this threatened
                                                                                                   threatened
 harm.
            Fourth, even though Relator has asserted her claims anonymously, there is nothing
  ambiguous or uncertain about the Complaint. Moreover, the 31 U.S.C. 3279 Complaint filed for
  Plaintiff the United States is thrust at allegations of institutional and widespread Medicare billing
  upcoding and unbundling (healthcare fraud) by Defendants, and arguably has no bearing on
  Relator’s anonymity. Relator is neither
                                        neither a direct plaintiff nor defendant here.
            Defendants are also fully aware of the identity of Relator as documented, and provided by
  Relator in the underlying malpractice case and California Code of Civil Procedure §364 notice.

 3
     Sept, 9, 2014 Court Order denied Stanford’s demurrer and granted that Plaintiff could proceed anonymously.
        ______________________________________________________________________________
                                                                                Page | 4
 UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF
                                                                                                                  63
                                   LAW OFFICES OF GLORIA JUAREZ
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 66 of 131 Page ID
                                  #:2971



 Therefore, should Defendants assume such a blatantly frivolous position in litigation,
                                                                            litigation, as to seek a
 Federal Rule 12 and Rule 10
                          10(a)
                             (a) based “dismissal” alleging anonymity, then Relator will seek Rule
 11 sanctions against Defendants and their counsel.

           In closing, if your office decides to proceed with the frivolous “motion to dismiss” (and(and
 oone
    ne arguably where you are well aware there is no legally
                                                       legally sufficient basis to do so) based on “Rule
  10(a)” “anonymized Relator”, please (1)  (1) inform the Court
                                                           Court that Relator
                                                                      Relator opposes
                                                                               opposes your motion; (2)
 iinform
    nform the Court
               Court that the Relator has stated intent to seek sanctions against
                                                                           against you pursuant to Rule
  11 ; and (3) attach a copy
                        copy of this correspondence (under
                                                     (under seal if required by
                                                                              by Rule 5.2), and the prior
                                                                                                    prior
 ttoo your motion.
           In the interests of providing a prompt response to your demand for a personal meet and
  confer, we have not addressed every issue raised therein, but will do so at another time to the extent
  it becomes necessary to do so. Nor have we cited all of the applicable authorities and case law
  that support Relator’s position. Again, we will cite additional authorities to the Court should that
  become necessary.

        Unless we receive written communication from you before the close of business on
 Monday January 6, 2020 stating otherwise, it will be assumed that you are filing the Rule 10(a)
 based motion to dismiss, and we will begin preparing our Rule 11 motion for sanctions.

 Very Truly Yours,

 /S/ GJuarez
 Gloria Juarez, Esq.

 LAW OFFICES OF GLORIA JUAREZ
 ATTORNEYS FOR RELATOR




        ______________________________________________________________________________
                                                                                Page | 5
 UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF
                                                                                                            64
                              LAW OFFICES OF GLORIA JUAREZ
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 67 of 131 Page ID
                                  #:2972




               Exhibit C
                                                                                 65
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 68 of 131 Page ID
                                  #:2973




                                                                                 66
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 69 of 131 Page ID
                                  #:2974




               Exhibit D
                                                                                 67
 Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 70 of 131 Page ID
                                   #:2975




From: Campins, Nicholas
Sent: Thursday, August 15, 2019 11:41 AM
To: Sheeder, Frank <Frank.Sheeder@alston.com>
Cc: Neumeister, Mitch <Mitch.Neumeister@insurance.ca.gov>
Subject: Roe v. Stanford Case No. 2:17-cv-08726 (CD Cal)

Hi Frank:

I hope you are doing well. A Complaint !led against Stanford in the Central District of California was recently
unsealed. The case number is 2:17-cv-08726. Aached is a copy of the Complaint (which is also available
publicly on PACER and which I just downloaded from that site).

As Docket entry 30 re!ects, the State of California, by and through, the Insurance Commissioner has previously
declined intervenon in this maer without prejudice in 2018. The United States has also declined intervenon
as that entry notes.
Nevertheless, in my opinion, there are certainn elements of the Complaint which are worthy of serious analysis by
  tanford.
SStanford.

In that vein, I humbly suggest that you reach out to Relator’s counsel and discuss this maer with her before the
ligaon becomes acve. Here is her informaon:

Gloria Juarez
LAW OFFICES OF GLORIA JUAREZ
26081 Merit Circle , Suite 112
Laguna Hills, CA 92653
Telephone (213)598-4439
Gloria Juarez tootsieglo@sbcglobal.net; and gloria@thegjlaw.com

I broached this issue with her only moments ago and she said she would welcome such a dialogue. I am also
more than happy to parcipate in some of the calls if it would facilitate the dialogue.

Thank you.

Nick Campins
Senior False Claims Trial Aorney
California Department of Insurance
Fraud Liaison Bureau
45 Fremont Street, 21st Floor
San Francisco, CA 94105                                                                                           68
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 71 of 131 Page ID
                                  #:2976




               Exhibit E
                                                                                 69
           Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 72 of 131 Page ID
                                             #:2977
                                                                                    




                                                                  
                                                                                                           






   

                            
  
                            
         

                 

   
 
    



                                                             
                                                   
                                           
                                              
                                                 
                                                
                                                 




                                                                                                                          70
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 73 of 131 Page ID
                                  #:2978




               Exhibit F
                                                                                 71
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 74 of 131 Page ID
                                  #:2979




                                              GJ
                                      Gloria Juarez
                             LAW OFFICES OF GLORIA JUAREZ

   ORANGE COUNTY OFFICE                                                 LOS ANGELES OFFICE
   26081 Merit Circle , Suite 112                                       P.O. Box 4591
   Laguna Hills, California 92653                                       Montebello, California
   Tel. 213-598-4439                                                    90640-9997
   Fax 714-919-0254                                                     Tel. 213-598-4439
                                                                        Fax 714-919-0254



 December 16, 2019


 Mr. Frank Sheeder, Partner
 Alston & Bird
 2200 Ross Ave., Suite 2300
 Dallas, TX 75201
 Tel. (214) 922-3420/ Cell. (214) 208-9900
 Email: Frank.Sheeder@Alston.com
 Email: Brad.Smyer@alston.com
 FOR DEFENDANTS STANFORD ET AL.


                                RE: 2:17-cv-08726-DSF-AFM United States of America et al v.
                                Stanford Healthcare et al.


 Dear Mr. Sheeder,

      We are in receipt of your email correspondence dated December 12, 2019. This
 communication follows my December 13, 2019 email.
        We discussed last week that my office represents the Relator in this action which was
 brought on behalf of the real parties in interest who are the United States, the State of California,
 and the California Insurance Commissioner.




                                                   1


                                                GJ
                       LAW OFFICES OF GLORIA JUAREZ
 2:17-cv-08726-DSF-AFM United States of America et al v. Stanford Healthcare et al.                      72
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 75 of 131 Page ID
                                  #:2980



         As you are aware from your prior work with Stanford defendants and the earlier IFPA
 false claims1 settlement with CDI, the Department’s consent is required prior to any dismissal.
 We believe that similar to the IFPA statues 2, Federal U.S.C. 3279 codes have a strong provision
 for consent as to dismissal of parties. Pursuant to 31 U.S.C. 3230 (b)(1) my office even if
 authorized by the relator arguably lacks standing to dismiss parties as you have requested
 without consent of the “real party(ies) in interest”3. Accordingly, any request would need to be
 run through the proper parties for stipulation. If your interpretation of the statute is different as to
 consent, please let us know your thoughts.
         With all due respect to your office, our preference is that we proceed in discussions of
 certain allegations in the Complaint in advance of the proposed dismissal of the 5 defendants.
         As I noted previously, my office has not entered into any agreement with your office as
 to any party dismissals and has no authority to do so without relator’s express consent. In the
 interim, please do not make any representations to others or the Court regarding the status of any
 agreement or “memorializing” any agreement. Although the Department of Justice has expressly
 entered a declination to intervene without prejudice (See Docket No. 30), Relator also lacks
 standing to stipulate to unilateral dismissal decisions without coordination with their office.
         Thus, we’re not convinced that we even have standing to stipulate to your request for the
 party dismissals considering applicable statute. Should you believe that our understanding of the
 procedural standing is incorrect in anyway, please notify.


 Early Communications
         As to CDI and Mr. Nick Campin’s August 2019 outreach to your office, and my office’s
 earlier email and telephonic correspondences to you in September 2019, we had anticipated
 meaningful preliminary discussions as to the allegations in the Complaint.
         Sans a timely response from your office to those communications, we ultimately
 proceeded under the understanding that that either your office did not represent the Stanford
 defendants, or in the alternative you had not received the email correspondences since moving to
 your firm. We remained under that impression, until your office’s outreach last week. I thus must
 apologize that in hindsight, your apparent September 19, 2019 email had gone entirely unnoticed
 during a period of counsel unavailability. Had I been aware of your email, I would have timely
 responded.


 1
     California IFPA- Insurance Frauds Prevention Act, Insurance Code Section 1871 et. Seq.
 2
   California Insurance Code 1871 (e)(1) “Any interested persons, including an insurer, may bring a civil action for a
 violation of this section for the person and for the State of California. The action shall be brought in the name of
 the state. The action may be dismissed only if the court and the district attorney or the commissioner, whichever is
 participating, give written consent to the dismissal and their reasons for consenting.”


 3
     Your office contends that Stanford HealthCare is the only “real party” and 5 of the 6 defendants are not parties.

                                                             2


                                                          GJ
                       LAW OFFICES OF GLORIA JUAREZ
 2:17-cv-08726-DSF-AFM United States of America et al v. Stanford Healthcare et al.                                      73
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 76 of 131 Page ID
                                  #:2981



 Service of Summons and Complaint
         Please disregard our early Septem
                                    September
                                           ber 13, 2019 correspondence and subsequent telephonic
 contact with your office as to preliminary discussion
                                            discussion of acceptance of
                                                                     of service
                                                                        service and as to possible
 Rule
 Ru le 4(d)(1)
       4(d)(1) waiver.
         As you know, our office proceeded under mistaken assumption that you no longer
 represented defendants, and thus had ordered personal process service to Defendants prior to
 receiving your December 12, 2019 communication.
        Accordingly, we anticipate the process server effectuating service no later than the end of
 this month. Should service fail, or your office otherwise provide alternate direction we would be
 amendable.


 Docket No. 36
        On Dec. 6, 2019 docket number 36 reflects Relator’s Statement. A courtesy electronic
 copy of the conformed filing is attached hereto.
          In relevant part, the last paragraph summarizes my office’s intention as to seeking leave
 to seal the action, pending informal mediation and mutually favorable resolution of disputes in
 this FCA. We are informed and believe that the DOJ would not oppose such a procedural
 request.
                “Defendant(s) have not filed an appearance, an answer, or a motion
        for summary judgment. In the interest of expeditious resolution of all of
        the claims by Defendants in this action, Relator respectfully seeks leave of
        court herein that should a resolution of the claims in this action be reached
        by all parties prior to the litigation commencing or substantially
        proceeding, that upon signed stipulation of all parties, the court grant in its
        order leave to seal this action, the Complaint, and First Amended
        Complaint. 31 U.S.C. § 3730(c)(3) Therefore, it would also be requested
        that the Court at the court’s calendar preference, may consider a case
        management conference set for all parties on or about mid-March 2020 to
        allow Defendants to make their first appearance, and parties time to meet
        and confer on the pending two causes of action.”


 Docket No. 38
        On Dec. 9, 2019 docket number 38 reflects the Court’s Order adopting Relator’s
  aforementioned pleading for a status conference calendared for March 16, 2020.




                                                  3


                                               GJ
                       LAW OFFICES OF GLORIA JUAREZ
 2:17-cv-08726-DSF-AFM United States of America et al v. Stanford Healthcare et al.                   74
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 77 of 131 Page ID
                                  #:2982



 Week of January 6, 2020 Meeting
        We are fully agreeable to your proposed collaborative meeting in the first full week of
 January 2020. In light of Mr. Campin’s offer to mediate discussions in this matter, would it be
 acceptable that we request coordination with his office to join our telephonic conference?


         We sincerely look forward to working with you, and your response. Please note the
 preferred email addresses for all further communications are Gloria@theGjLaw.com and
 toosieglo@sbcglobal.net. Thank you in advance for your anticipated courtesy and cooperation.


                                             Very Truly Yours,
                                             /S/ GJ
                                             Gloria Juarez




                                                4


                                              GJ
                       LAW OFFICES OF GLORIA JUAREZ
 2:17-cv-08726-DSF-AFM United States of America et al v. Stanford Healthcare et al.                75
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 78 of 131 Page ID
                                  #:2983




               Exhibit G
                                                                                 76
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 79 of 131 Page ID
                                  #:2984




                                                                                 77
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 80 of 131 Page ID
                                  #:2985




                                                                                 78
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 81 of 131 Page ID
                                  #:2986




                                                                                 79
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 82 of 131 Page ID
                                  #:2987




               Exhibit H
                                                                                 80
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 83 of 131 Page ID
                                  #:2988


                                      

                                 
                                      
  
 

 
  
 
 
    

  
 
   
                         

     

  
   
 

  
 
    
    
     
    
     
    
   
    
    
   
   
     
    
   
    
    
    
                                                          




                                                                                                              81
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 84 of 131 Page ID
                                  #:2989




                                                                                 82
    Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 85 of 131 Page ID
                                      #:2990

                                                                                     
                                                                                                                     
 
  
  





   


  


     



     
  

                                                          

                                                                                                                    
                                                                                                                    
                                                                                                                
                                                                                                                              


                                                                                                                                




                       
                                              
                                                                                                                                            
                                                                          83
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 86 of 131 Page ID
                                  #:2991




                 Exhibit I
                                                                                 84
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 87 of 131 Page ID
                                  #:2992




                                                                                 85
              Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 88 of 131 Page ID
                                                #:2993
                                                                         




                                                                                              
                                                                                                          
                                                                                                                      


 
    
 
 



 



                                                                                                                   

                                                                                                                                                  

  
                                                                                                                                  
 




                                             




                                           

                                                  

                                             

                                   
                                                            


                                         
                                                           
                                                             
                                                           




  


 
 

 

                                                                             
                                                                                                                                                 86
                                                                                                                       
                                                                                                                          
                                                                                                                                              
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 89 of 131 Page ID
                                  #:2994




                Exhibit J
                                                                                 87
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 90 of 131 Page ID
                                  #:2995




                                                                                 88
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 91 of 131 Page ID
                                  #:2996




               Exhibit K
                                                                                 89
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 92 of 131 Page ID
                                  #:2997




                                                                                 90
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 93 of 131 Page ID
                                  #:2998




                                                                                 91
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 94 of 131 Page ID
                                  #:2999




               Exhibit L
                                                                                 92
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 95 of 131 Page ID
                                  #:3000




                                                                                 93
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 96 of 131 Page ID
                                  #:3001




                                                                                 94
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 97 of 131 Page ID
                                  #:3002




                                                                                 95
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 98 of 131 Page ID
                                  #:3003




                                                                                 96
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 99 of 131 Page ID
                                  #:3004




                                                                                 97
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 100 of 131 Page ID
                                   #:3005




                                                                              98
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 101 of 131 Page ID
                                   #:3006




                                                                              99
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 102 of 131 Page ID
                                   #:3007




                                                                             100
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 103 of 131 Page ID
                                   #:3008




                                                                             101
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 104 of 131 Page ID
                                   #:3009




                                                                             102
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 105 of 131 Page ID
                                   #:3010




                                                                             103
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 106 of 131 Page ID
                                   #:3011




                                                                             104
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 107 of 131 Page ID
                                   #:3012




                                                                             105
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 108 of 131 Page ID
                                   #:3013




              Exhibit M
                                                                             106
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 109 of 131 Page ID
                                   #:3014




                                         GJ
                                 Gloria Juarez, Esq.
                          LAW OFFICES OF GLORIA JUAREZ
                             26081 Merit Circle, Suite 112
                                Laguna Hills, CA 92653
                               Telephone (213) 598-4439
                                   Fax 714-919-0254




         ______________________________________________________________________________
                                                                                 Page | 1
  UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF
                                                                                            107
                          LAW OFFICES OF GLORIA JUAREZ
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 110 of 131 Page ID
                                   #:3015




         ______________________________________________________________________________
                                                                                 Page | 2
  UNITED STATES et. al ex. relator Roe vs. STANFORD et. al. CV 1708726DSF
                                                                                            108
                          LAW OFFICES OF GLORIA JUAREZ
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 111 of 131 Page ID
                                   #:3016




               Exhibit N
               Exhibit
                                                                             109
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 112 of 131 Page ID
                                   #:3017




                                                                             110
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 113 of 131 Page ID
                                   #:3018




                       Exhibit C
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 114 of 131 Page ID
                                        #:3019



From:                           Sheeder, Frank
Sent:                           Friday, June 12, 2020 5:12 PM
To:                             Gloria Juarez; GLORIA JUAREZ, ESQ.
Subject:                        US ex Rel Roe
Attachments:                    20200612 Letter to G. Juarez.pdf


Gloria,

Please see the attached correspondence.

Best regards,
Frank

Frank Sheeder, Partner
ALSTON & BIRD
2200 Ross Ave., Suite 2300
Dallas, TX 75201

O (214) 922-3420
C (214) 208-9900

Frank.Sheeder@Alston.com




                                                                                  111
                                                        1
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 115 of 131 Page ID
                                   #:3020




                                                                             112
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 116 of 131 Page ID
                                   #:3021




                                                                             113
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 117 of 131 Page ID
                                   #:3022




                                                                             114
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 118 of 131 Page ID
                                   #:3023




                                                                             115
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 119 of 131 Page ID
                                   #:3024




                                                                             116
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 120 of 131 Page ID
                                   #:3025




                                                                             117
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 121 of 131 Page ID
                                   #:3026




                                                                             118
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 122 of 131 Page ID
                                   #:3027




                       Exhibit D
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 123 of 131 Page ID
                                        #:3028



From:                             GLORIA JUAREZ, ESQ. LAW <gloria@thegjlaw.com>
Sent:                             Tuesday, June 16, 2020 7:03 PM
To:                               Sheeder, Frank
Cc:                               Chemerinsky, Kim
Subject:                          Stanford: U.S. ex. rel. Roe vs. STANFORD et. al. CV 17-08726-DSF
Attachments:                      20-6-16 lttr to Sheeder re Motions cpy.pdf


EXTERNAL SENDER – Proceed with caution




Frank,
Please find the attached for your review and response.
Thank you


                                                       GJ
                                              Gloria Juarez
                                     LAW OFFICES OF GLORIA JUAREZ

                                            ORANGE COUNTY OFFICE
                                          26081 Merit Circle , Suite 112
                                             Laguna Hills, CA 92653
                                               Tel. 213-598-4439


On Tue, Jun 16, 2020 at 4:13 PM GLORIA JUAREZ, ESQ. LAW <gloria@thegjlaw.com> wrote:
 Frank,
 I had a heavily impacted calendar yesterday, and will respond to your letter later this afternoon, or at latest
 tomorrow.
 Thanks

 On Fri, Jun 12, 2020 at 3:11 PM Sheeder, Frank <Frank.Sheeder@alston.com> wrote:

  Gloria,



  Please see the attached correspondence.



  Best regards,

  Frank


                                                                                                                   119
                                                            1
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 124 of 131 Page ID
                                        #:3029
 Frank Sheeder, Partner

 ALSTON & BIRD

 2200 Ross Ave., Suite 2300

 Dallas, TX 75201



 O (214) 922-3420

 C (214) 208-9900



 Frank.Sheeder@Alston.com




 NOTICE: This e-mail message and all attachments may contain legally privileged and confidential information intended
 solely for the use of the addressee. If you are not the intended recipient, you are hereby notified that you may not
 read, copy, distribute or otherwise use this message or its attachments. If you have received this message in error,
 please notify the sender by email and delete all copies of the message immediately.



--


                                                     GJ
                                             Gloria Juarez
                                    LAW OFFICES OF GLORIA JUAREZ

                                          ORANGE COUNTY OFFICE
                                        26081 Merit Circle , Suite 112
                                           Laguna Hills, CA 92653
                                             Tel. 213-598-4439




                                                                                                              120
                                                         2
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 125 of 131 Page ID
                                   #:3030




                                                                             121
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 126 of 131 Page ID
                                   #:3031




                                                                             122
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 127 of 131 Page ID
                                   #:3032




                       Exhibit E
     Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 128 of 131 Page ID
                                        #:3033



From:                            Sheeder, Frank
Sent:                            Thursday, June 18, 2020 4:28 PM
To:                              GLORIA JUAREZ, ESQ.; Gloria Juarez
Subject:                         US ex rel. Roe
Attachments:                     20200618 Letter to G. Juarez.pdf


Gloria, please see the attached correspondence.

Best regards,
Frank




                                                                                  123
                                                         1
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 129 of 131 Page ID
                                   #:3034




                                                                             124
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 130 of 131 Page ID
                                   #:3035




                                                                             125
Case 2:17-cv-08726-DSF-AFM Document 79-1 Filed 07/06/20 Page 131 of 131 Page ID
                                   #:3036


   1                            CERTIFICATE OF SERVICE
   2         I hereby certify that on July 6, 2020, I caused a copy of the DECLARATION
   3   OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’
   4   OPPOSITION TO RELATOR’S AMENDED MOTION FOR SANCTIONS,
   5   COSTS, AND ATTORNEY’S FEES PURSUANT TO FED. R. CIV. P. RULE
   6   11 to be served upon the following counsel and parties in interest via the Court’s
   7   CM/ECF system:
   8
             Gloria Juarez, Esq.                   Frank D. Kortum
   9         Law Offices of Gloria Juarez          Assistant United States Attorney
             26081 Merit Circle, Suite 112         Room 7516, Federal Building
  10         Laguna Hills, California 92653        300 N. Los Angeles St.
                                                   Los Angeles, CA 90012
  11
             Counsel for Relator                   Counsel for the United States of
  12                                               America

  13
  14   /s/ Frank E. Sheeder III
       Counsel for Moving Defendants
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                               -126-
        DECLARATION OF FRANK E. SHEEDER III IN SUPPORT OF MOVING DEFENDANTS’ OPPOSITION TO
            RELATOR’S AMENDED MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. RULE 11
